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 5
     Interim Lead Counsel for the Direct Purchaser Plaintiffs
 6

 7

 8                               UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
l0                                    SAN FRANCISCO DTVISION
l1   TN RE: CATHODE RAY TUBE (CRT)                    Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
t2                                                    MDL No. l9l 7
     This Document Relates to:
l3                                                   DECLARATION OF R. ALEXANDER
                                                     SAVERI IN SUPPORT OF MOTION FOR
14
     ALL DIRECT PURCHASER ACTIONS                    CLASS CERTIFICATION AND
                                                     PRELIMINARY APPROVAL OF CLASS
15
                                                     ACTION SETTLEMENTS WITH CPT AND
                                                     PHILIPS
t6
                                                     Date: April5,2012
t7                                                   Time: 2:00 p.m.
                                                     Judge: Honorable Charles A. Legge (Ret.)
l8                                                   JAMS: Two Embarcadero Center. Suite 1500
t9
20

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     DEC.OF R. ALEXANDER SAVERI ISO OF MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
     SETTLEMENTS _ CV-O7-5944-SC
             Case 4:07-cv-05944-JST Document 1115-1 Filed 03/27/12 Page 2 of 60




     1
     _t    I, R. Alexander Saveri, declare:

     2             I   '   I am a partner with Saveri & Saveri, Inc., Interim Lead Counsel for Direct Purchaser
     a
     J     Plaintiffs in this litigation. I am a member of the Bar of the State of California and an attorney

     4     admitted to practice in the Northern District of California. I make this Declaration in Support of

     5     Plaintiffls Motion for Preliminary Approval of Class Action Settlements with defendants

     6     Chunghwa Picture Tubes and Philips. Except as otherwise stated, I have personal knowledge of

     7     the facts stated below.

     I            2.       Attached hereto as Exhibit I is the Settlement Agreement with Chunghwa Picture

  9       Tubes, Ltd. ("cPT").

 10               3'       Attached hereto as Exhibit 2 is the Settlement Agreement with Koninklijke Philips

 n        Electronics N.V., Philips Electronics North America Corporation, Philips Electronics Industries

I2        (Taiwan), Ltd., and Philips Da Amazonia Industria Electronica Ltda. (collectively, "philips").

13                4.       This multidistrict litigation arises from a conspiracy to fìx prices of Cathode Ray

l4        Tubes ("CRTs"). In Novemb er of 2007 , the first direct purchaser plaintiff filed a class action

l5        complaint on behalf of itself and all others similarly situated alleging a violation of section one of

t6        the Sherman Act, l5 U.S.C. $ 1, and section four of the Clayton Act, l5 U.S.C.
                                                                                             $ 15. Thereafter,
t7        additional actions were filed in other jurisdictions, and the Judicial Panel on Multidistrict Litigation

18        transferred all related actions to this Court on February 15, 2008. (Judicial Panel on Multidistrict

t9        Litigation Transfer Order-Docket No. 122). OnMay 9,2008, Saveri & Saveri, Inc. was appointed

20        Interim Lead Class Counsel for the nationwide class of direct purchasers. (Order Appointing

2l        Interim Lead Counsel-Docket No. 282)

22                5'       On March 16,2009, the Direct Purchaser Plaintiffs filed their Consolidated

ZJ        Amended Complaint ("CAC") alleging an over-arching horizontal conspiracy among the

24        Defendants and their co-conspirators to fix prices for CRTs and to allocate markets and customers

25        for the sale of CRTs in the United States from Ma¡ch I , I 995 through November 25,2007 (the

26        "Class Period"). The Complaint alleges that Plaintiffs and members of the Class are direct

27        purchasers of CRTs andlor CRT Finished Products from defendants and/or their subsidiaries and

28        were injured because they paid more for CRTs and/or CRT Finished Products than they would

          DEC. OF R. ALEXANDER SAVERI ISO MOTION FOR PRELIMINARY APPROVAL
          OF CLASS ACTION SETTLEMENTS - CV-07-5944-SC
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          I     have absent defendants' illegal conspiracy. (compl.
                                                                        liT 213 - 221) plaintiffs seek, among orher
      I
      z         things, treble damages pursuant to Sections 4 of the clayton
                                                                               Act, l5 u.s.c. $$ l5 and 22.
      3         (Compl., Prayer for Relief )

      4                6'       Defendants hled several motions to dismiss the CAC on May g,
                                                                                         l   2009. (See
      5         Dockets No' 463-493). on February 5,2010 this court issued
                                                                                 its rulings denying in part and
      6         granting in part Defendant's motions to dismiss (Report,
                                                                           Recommendations and Tentative Rulings
               regarding Defendantsl Motions to Dismiss-Docket No.
                                                                          597). After a subsequent appeal by
     I         defendants, Judge Conti on March 30,2010 entered his
                                                                          order approving and adopting Judge
     9         Legge's previous ruling and recommendations regarding
                                                                           Defendants, Motions to Dismiss. (Order
 t0            Approving and Adopting Special Master's Report, Recommendations
                                                                                         and Tentative Rulings Re:
 ll            Defendants' Motions to Dismiss- Docket No. 665). on
                                                                          April zg,20l 0 the defendants answered the
 t2            CAC.

 l3                   7   '    In September of 2008, the first of several stays prohibiting plaintiffs
                                                                                                         from obtaining
 l4            merits discovery was entered by this Court. (Stipulation
                                                                          and order for Limited Discovery-
 l5            September 12'2008' Docket No.379; Stipulation and
                                                                       order to Extend Limited Discovery Stay-
 t6            February 5, 2009-Docket No' 425; lune 8,2009 Legge
                                                                        order Further Extending the February 5,
 t7            2009 order; January 5,2010 Stipulation and order to
                                                                       Extend Limited Discovery Stay-Docket No.
 l8            590 )' on June 4,2008, Plaintiffs'propounded their First
                                                                           Set of Limited Document Request.
t9            Thereafter' on March 12,2010 after the partial stay of
                                                                       discovery was lifted, plaintiffs propounded
20            their second Set of Document Request and First Set of Interrogatories.
                                                                                         After extensive meet and
2l            confers and several motions to compel, the court issued
                                                                         its Report Regarding case Management
22            conference No' 4 0n October 27,2011 in which it set
                                                                       the middle of Decemb er 20ll as the deadline
Ár
¿J            for the completion of substantial discovery by all parties. (Docket
                                                                                    Nos. I 007 &.100g). plaintiffs
24            have now received over 5 million pages of documents
                                                                       produced by Defendants.
25                    8'      Just recently, on March 19,20l2,this court issued its
                                                                                      Scheduling order setting
26            August 30,2013 as the date for completion of all fact and
                                                                          expert discovery. (Scheduling order-
27            Docket No. 1093)

28

              DEC. OF R. ALEXANDER SAVERI ISO MOTION PRELIMINARY
                                                                 APPROVAL
              OF CLASS ACTION SETTLEMENTS. CV-07-5944-SC
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 I           9.      CRTs are defined to mean Cathode Ray Tubes of any type (e.g. color display tubes,

 2   color picture tubes and monochrome display tubes). CRT Finished Products are those products
 a
 J   that when finished contain Cathode Ray Tubes - televisions and computer monitors.

 4           10.     The settlements resolve all federal claims related to CRTs and CRT Finished

 5   Products brought by Plaintiffs against CPT and Philips.

 6           11.     Mr. Guido Saveri participated in all of the settlement negotiations with CPT.

 7   Settlement negotiations began as early as July of 2008. I also participated in these negotiations.

 8   The negotiations were thorough and hard fought. They were conducted at arms-length in the

 9   utmost good faith. The negotiations covered a long period of time. The parties ultimately executed

10   a settlement agreement in April of 2009.

1l           12.     CPT agreed to pay Ten Million Dollars ($10,000,000) in cash to settle all direct

t2   purchaser claims against CPT, which has been deposited into an interest-bearing, US Treasury

13   guaranteed escrow account.

l4           13.     CPT's sales remain in the case for the purpose of computing Plaintiffs' claim

15   against the remaining non-settling Defendants.

t6           14.     CPT has agreed to cooperate with plaintiffs in the prosecution of this action by

t7   providing information relating to the existence, scope, and implementation of the conspiracy

l8   alleged in the Complaint. CPT's obligations include producing, in the United States, relevant

t9   documents and witnesses for discovery and trial.

20           15.    It is my opinion that the CPT settlement is, in every aspect, fair, adequate and
2l   reasonable and in the best interest of the class members. My opinion is based on my extensive

22   experience in class action antitrust cases.
11
¿J           16.    I participated in all of the settlement negotiations with Philips. Settlement

24   negotiations began as early as January of 2011. The negotiations were thorough and hard fought.

25   They were conducted at arms-length in the utmost good faith. The negotiations covered a long

26   period of time. The parties ultimately reached a settlement in January of 2012 and,a settlement

27   agreement was executed on February 1,2012.

28

     DEC. OF R. ALEXANDER SAVERI ISO MOTION PRELIMINARY APPROVAL
     OF CLASS ACTION SETTLEMENTS - CV-07-5944-SC
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       I             17   '     In exchange for dismissal with prejudice and a release of all
                                                                                                  claims asserted in the
       2     Complaint, Philips has agreed to pay Twenty-Seven Million
                                                                                Dollars ($27 million) in cash. Saveri
       a
       J     Decl' Ex' 2, Philips Settlement
                                                 fl 6. The $27 million settlement amount is subject to reduction
      4      based on the number of exclusions from the class
                                                                     after notice. Saveri Decl. Ex. 2, philips
      5      Settlement fl 18. The Philips settlement funds are to be deposited
                                                                                      in installmenrs with the first
      6      $12,000,000 to be deposited within approximately 60 days from
                                                                                    execution of the settlement. Saveri
      7      Decl. Ex. 2, Philips Settlement f[ 16.

      8              l8'       Philips has agreed to provide Plaintifß with significant and
                                                                                               valuable cooperation in
      9      the prosecution of the case against the remaining non-settling
                                                                                 defendants. philips is the first
  l0         integrated defendant - tubes and finished products manufacturer/defendant
                                                                                                 - to have settled. In
  ll        addition, Philips, being a European manufacturer, has European
                                                                                   centric information on the cRT
  t2        price fixing conspiracy which is in addition to and
                                                                     complimentary to cpÏs Asian centric
 l3         information' Philip's obligations include, among other things,
                                                                                 attomey proffers of philips
 14         involvement in the CRT conspiracy and producing relevant
                                                                              documents and witnesses for discovery
 15         and trial. Saveri Decl. Ex. 2, philips Settlement
                                                                 ti24.
 t6                 19'        Philips sales remain in the case for purposes of computing
                                                                                             damages against the non-
 1-
 ll         settling defendants.

 l8                20'        It is my opinion that the Philips settlement is, in every aspect,
                                                                                                  fair, adequate and
19         reasonable and in the best interest of the class
                                                              members. My opinion is based on my extensive
20         experience in class action antitrust cases.

2r             . 2l'          The transactional data produced so far indicates that
                                                                                      the Class contains hundreds of
22         members dispersed across the country who directly purchased
                                                                                CRT products from the Settling
23         Defendants and their co-conspirators from March l,
                                                                      1995 through November 25,2007 .
24                 22'        Plaintiffs' counsel will not seek an award of attorneys' fees at
                                                                                                  this time. plaintiffs,
25         counsel will seek an award of fees in the future after
                                                                      the completion of other settlement(s) or at
26         some other later date.

27                23'         The notice program is similar to the ones implemented
                                                                                        in other direct purchaser
28         antitrust class actions - namely direct notice to class
                                                                     members whose addresses can be reasonably
           DEC. OF R. ALEXANDER SAVERI ISO MOTION
                                                   PRELIMINARY
           OF CLASS ACTION SETTLEMENTS - CV-07-5944-SC
                                                                            APPROVAL                                       4
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      I     obtained along with publication once in the national edition
                                                                           of the wall Street Journal, together
      2     with appropriate listings on the Internet. This notice program is
                                                                                similar to that employed in the
      5    direct purchaser DRAM, SRAM and, LCD class actions.

      4            24'     Attached hereto as Exhibit 3 is a copy of the proposed Long Form
                                                                                                 of Notice.
      5            25'    Attached hereto as Exhibit 4 is a copy of the proposed Summary
                                                                                               Notice.
     6           I declare under the penalty of perjury under the laws of the United States
                                                                                              of America that the
     7     foregoing is true and correct.

     8

     9           pxecute¿ the 25th day of
                                            March, 20l2,rn san Francisco, califomia.
 l0
 ll                                                                     /s/ R. Alexander Saveri
                                                                          R. Alexander Saveri
 t2
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 t4
 l5
 t6

 t7

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T9

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          DEC. OF R. ALEXANDER SAVERI ISO MOTION PRELIMINARY
                                                             APPROVAL
          OF CLASS ACTION SETTLEMENTS - CV.O7-5944.SC
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          EXHTBTT L
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              This scnrencnt A''eement (*Agreement') is made and entered
                                                                                      into trrrs s$aay of

     "úÍit 2009, by and between dcfsnda¡rt chungbwa pícü'e Tubes, Lrd. (,,chunghwa,,) aud úe
      plaintiffclaes rcpresentatives ("Ptaintiffs'), both individually
                                                                          and on behalfofa scttteurcnr ctass

      of direct purchase¡s of catbule Ray Tube (,,cRT) producte (rhe ,.class,.),
                                                                                         ss ElorE particulorly

     defined in paragraph A.l below.

             *HEREAS' prsintiffs are prcseorring                 re carhode RayTube (cRI) iruimst
                                                        '.heln
     Lltigation,MDlNo. l917N,D.cal.)(rbe"Actiou')o¡thcirownbehalfandonbehalfofrhe

     Class against, among olhen, Chunghr+,a;

             \ryHEREAS, plaintilß allege thar Cbunghwa parricipaæd
                                                                             in an unlawfut corupiracy to
     roisc, fìx, maintain' or slabilizc thc price of CRT productr
                                                                     at arrifìcially high levels in viotation

    of Section I of thc Shcrmen Act;

            w¡lER&tS, Chunghwa dcnies Plaintiffs' altegations a$d bcueves
                                                                                       it has asscrred
    defen¡es to Ptainti flb' clais¡s;

            WHEREAS, Ptaintiflb have conducted an iuvestigatio¡ ino
                                                                               rhe facts and the taw

    rcgatding ths Action and have concluded that rcsolving claims
                                                                          against chunghwa according to

    ths terms ser forrh below is ín the bcst intcresr of praioriff¡ and
                                                                          rhe cræe;

           wHERE^s, Chungbwa, despite irs betief tbar it is not tiable
                                                                               for the claims as.¡erted and
   har good defenscs tltereto' has nevertheless agrced to e¡ter
                                                                    i¡to this Agreæment lo avoid furttrer
   exPc¡¡se' ínconvenience, and the distraction ofburdensome
                                                                      and protracted litigation, and to

   obtain thc releaser, ordcrs, and judgnent contemplatcd
                                                                 by rhis Agrecmenq and to put to rest with

   finolíty sll claitnJ thet havc been or could have been asserted against
                                                                               ctrunghwa baséd on rhe
   allegations of the Action, aE.more particularly set out
                                                             belowi
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            NOw' THEIIIFORE, iu consideration of thc covc¡anlsr agrcemsnts, and reléases set

    forth hcrcin and for orher good gnd v¡luable coruideration, it is agrecd by and among the

    undersigned th¡t thc Action be settled, oompromiscd, and dismis¡ed on ùc mgrits
                                                                                            with prejudicc
    as to Chunghwa, as defined below, and eãccpt as haeioafrerprovide{ withsut
                                                                                         cosr.s to ptaintiffs,

    thc class, or chungbwa, subjcct to the approval of the cou4 on the tollowing
                                                                                        rerms end

   conditions;

           A.      Delinitiol¡s.

                   l.      For purposæ of trris Agrcems'r, "ibe crase" sod -cross perjod,' sre ae

   dcfincd in Plaintiffs' opqstive complaint at the time tlris Agrecment is prescntcd
                                                                                           for prcliminary

   approvol.

                  2.       For purporos of this Agroønm! "cRT producr''arc defined to mean

   cathode ray hrbes of any typc (c.g., color display tubes, color picturc tubec, and
                                                                                         monoch¡omc

   display tubes) and products conråin¡ng caùodc roy tubæ.

                  3.      "Chunghwa Relessee¡" shall refer to Chunghwa and to all of its rcspcctivc

  pasl and Pre.sent, direct and indirecl, parent conìp¡nies, subcidiaries,
                                                                             afñliatcs; the prcdccessors,

  successonl and assigtts ofarry ofthe above; and cach a¡d all ofthc prerent and
                                                                                        former principals,

  psrlnç¡T' officcrs, directors, supervisorg, ernployees, representatives,
                                                                             itrsure!6, a¡omeys, hcirs,

  cxecutoni¡ administrntors, ond assigrs ofe¡ch ofthe foregoing.
                                                                      "Chungbwa Releasceg.. does not

  include any defendant in the Action other than Churghwa, including but
                                                                                 nor limired to T.tuog

  Company ofAmer¡co.

                 4.      'tlas Membed'me8ns cach mer¡bcr of tbe ctass who has not tinety
  elected to be cxcludcd fron¡ the Class.
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                    5'      "Releasors" shall refer Ìo the ptaintiffcl¡ss representltives and CIæg

    Membcrs, and to thcir past and preseot oflicers, dircctors, cmployees, agcnts, stockholdcn,

    anorn€ys. sqrvaDts, reprçcntativcs, parcnt companies, subsidie¡ies, afñll¡æs, pattncrsr
                                                                                                ínn¡En
    anrJ all othcr persons, partnerships   or corporatioru with whom ony of the former havc bcen, or

    arc now' ¡flillntad, al¡d thc prcdcccesors, suçcessonr hcirs, exccutivec, administnators
                                                                                               aod

    arsigns ofany oftbc foregoing.

                   6.      "The Settlement Furd" shall be ¡10,000,000 in Unilql Stater Dollars, plus

    accrued interest on ssid deposits ss sct forrh ir poragraph l?.

                   7.      "Le¡d Cou¡sct" ¡hall rcfc¡ to:

                           Savori & Saveri, Inc.
                           70ó Sansome S¡¡eet
                           San Fnucisco, CA 941¡ I
                           c/o Guido Saveri

           B,     Aooroval Of This Aoreement And Dismissat Of Ctaims Aeainsr Chunahwa.

                  I'       Plaintiffs and Chunghwa shall usc lheir best efforu to cfÍcctuatc this

   Agreoment, including cooperating in seeking thc Couñ'g approval for the es¡¡blishment of

   pmcedurcs (including the giviag of class nolicc undcr Federal Rules of Civil procodure
                                                                                                23(c) urd

   (e)) to seg¡¡re thc prompt, complctc, srd final dismlss¡l wirh prejudice of rhe
                                                                                     Action æ to tt¡e

   Chunghwa Relcasces only.

                  9'      Plaint¡ffs shall ¡ubnit to the Court e motíon for authorization to

  disscmin¡te noticc of tlte senlsînerq clgõs cælif¡cation, and final judgmcnt contemplatsd
                                                                                                 by th¡s

  Agrcerneot to all Class Members (lhe "Motion'). If notice to tbe Chse ie given jointly with any

  other settling, defendant, for purposos ofpurugraph l 9 betow, the costs ofnoticc
                                                                                        and claims

  administation sball bc prorated witb ary olber such dcfend"nt bascd on their respecrive

  settlement ¿üDoun¡s, Thc Motion shall include: (i) a proposed form oC method for,
                                                                                          md data of
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     disscmlnatioo of notisc; and (ii) a propoaed lorm of ordcr and fiaal judgrnent. fie tcxl
                                                                                                  of thc
     forcgoing ilems (i) and (if) shall bc agrced upon by Ptaindfb and Chunghwa
                                                                                     beforc zubmission

     of tbc Motion with thc undentanding lhslì smong orherlhings, noüce to ¡he Ctæs will
                                                                                                 includc

     individual notice bascd on a class list provided by Chunghwa and noticc by publication
                                                                                                  and by

     regular mail or c'mail. willr all exp€nses paid Êom tbe Settteme¡rt Fund,
                                                                                 subjwt o paragrupb
     l9(¡). Chunghwa witl supply to Lead Curnsel, at Chunghwa'r expcnse and in n¡ch form as may

    be rcasonably rcquested by Lead Counscl, tl¡c uames and addresses of prlarive
                                                                                       Class Mcrnbers,

    o thc extent reasonably uvailable in Chunghwo's sslca dstsbase. The Motion shall recítc
                                                                                                    and ask

    thc Coul to find th¡t thc proposed form of and merl¡od for diescmination of
                                                                                   rhs notice of

    sclllcmsnt conslitutes valid, due, a¡d $¡fl¡ciont noticc ro rhe Clæs, coostitutes the best
                                                                                                 norice
    practicnblc under the circunutancer, and comptied frrlly with tho requirements
                                                                                      of Federal Rulcs

    ofCivil Proccdure 23.

                   l0'      Plaintiffs and Chunghwa shalljoiatly seek entry ofan order and final

   judgmcnt, ü¡c tcxl of wbich Plaindffs and Chunghwa eball agree upon.
                                                                              The rcrms of that ordcr

   and finaljudgmcnr will includo, at a minimun, the substance of the followi¡g pruvísiolu:

                  (a)     ccrtiging the class desqribcd in paragraph l, pursuanr ro Rute 23 of thc

   Fcdcnl Rulcs of Civil Proccrtuæ, for purposea of this senlemeng

                  (b)     æ to tl¡c Action, approving firully this settlemonr aod ite terms as being a

   frir, reasoaable, aud adequatc settlement 06 to the Ctass Members within lhe meaning of Rule
                                                                                                          23

   olthc Federsl Rules of Civil P¡ocedure and directing its consummation according to ite l€rms;

                 (c)     as to tbe Chunghwa Releascæ, dirccting that the Action be disrdsscd wirh

  prcjudice and, except as provided for in this Agreemøt¡, urithout c¡sts;
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                          (d)   rescrvint exclusivc jurisdiction ovcr thc sefilemcnr and this Agrucment,

     inclrrding the administration and consummation of tbis settlemeil to the
                                                                                    Un¡ted States Dístrict

     Cor¡¡t for thc Nonhcm District of Catifornia;

                      (e)       dctermining under Federal Rule of Civil Frocedurc 54(b) rtrar úere
                                                                                                          is no
    just reason for delay and dirccting that the judgmenr of diuriesal
                                                                          as   ø rbe Cbur¡ghwa Rclæsees
    ¡hall bc l¡¡al.

                      t   t.    Thie Agrecment shall become fmat when (i) ths Cor¡rt has cnæred
                                                                                                         ¡ tìnal
    oder certiffing tho Clasr dæcribed in paragrapb I and approviag tbis AgrcemeÉt undcr
                                                                                                       Fedqml

    Rulc of civil Procedure 23(c), and a fìnalJudgment dismisriog the Acrion with
                                                                                           prcjudice ar to

    tbe Chunghwa Releasees against all Class Mcnrbcta and withour costs other than
                                                                                             rhose provided

    for in this Agrecment, and (ii) rhe ¡imc for appeat or to scck permis¡ion to appeal
                                                                                             ftom the
   Courl's approval of this Agreemenl and entry of a finaljudgment a¡ to thc Chunghwa
                                                                                                     Rele¡sse!
   dcscribed in (i) hereof has expircd or, íf appealed, approval of rùis Agreement
                                                                                         and tbc fìnal
   judgmcnt ss to fte Chunghwa Rclessees havc bcen affirmsd in tfieír
                                                                               entirety by the courr of last

   rÊsorl to which such appeal has bccn taken and such alllrm¡nce has becomc
                                                                                       no tonger subject to

   further appcal or revicw. It is agreed thot the provisloas of Rutc 60 shatt not
                                                                                        be take' i¡¡ro

   sccou¡¡l in dctcrmining tbe above-statcd timó. On thc date that plaintiffs
                                                                                    urd Chunghwa have
   cxccurrd this AgreemenÇ ptsintiffs and chunghwo ghall be bowrd by iu tcrms
                                                                                         a¡¡d tbis

   Agrccment sbs¡l aot be resci¡ded except ia accordsncc with pangraphs r ?, r g,
                                                                                          24 or 2g of tüis

   Agreement

                  12. Ncither thir Agreemcnt (wbether or not it ¡lrould become fìnal) nor thc
  finnljudgmcnt' nor any and all negotiations, documenß anrl discussions æsocio¡cd
                                                                                              with them,
  shall bc dccmed o¡ constn¡ed to be o¡ admis¡io¡ by Chunghwa (or thc
                                                                                Chunghwa Releascer) or
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      evide,lc€ of nny violation of ury staÞtc or law or of ury tiability or
                                                                               wrongdoing wbatsoever by

      Chungbwa (or the Chunghwa Retæsces), or of tbe trutb of auy
                                                                          of thc ulairns or altegations

      cool¡ined in any complaint or any oùcr pleading frled by Plaintitrs
                                                                               in rhc Action, and evidcnqc

     thereof shall ¡ot be discoverable or used dircctly or indirectly,
                                                                         in any way, whether in the Action

     or in any other action or proceeding. Ncithe¡ tiie Agreement, lof any
                                                                                 of its lcrms and
     provisions, nor aty of the negotiations or procecdingr connected
                                                                           witb it, nor ary oftcr action
     tsken lo cqrDf out this Agreement by auy of tbe eettling parrlcs
                                                                         shall be lcferred to, oüered as

     cvidcnce or rcceivcd in evidence in aay pending or ñ¡tr¡æ cMl,
                                                                         srirni¡¡t, or adnrinistratívo acrion
     or proceeding;s' er(cept iu a pmceedíng to eîforce thie Agrccment, or
                                                                               dcfend agaiost thc sssertion

     of Releascd Clains, or rs othe¡wise required by law.

            C.      Relcase. Discharce. And Covcnant Not To Suc,

                    13' In addition æ tbe effcct ofany frnal judgrnenr cntcr€d i¡ accordance with
    lhis Agrccrnant, upor thi6 Agrocmcnt becoming finar as sct out in paragraph
                                                                                       l I of this
    Agre€menq and in considcration of pa¡rment of thc Settlement Fund,
                                                                               as specified in paragnpb I 6

    of thls Agrccment, and for other v¡luabtc co¡sidera¡ion, rþe Çf,¡¡gþwa
                                                                                 Reteasces sh¡ll be

    completely released, acguitted, a¡d forever discharged ñom any
                                                                          and att ctairns, demands,

   aulions, suils, causes of action, whctbcr ctaes, individual, or
                                                                     othenrise (whcther or oot any Clas

   Mcmbcr hss objected to tbe scttlcmcnt or makes r ctairn upon or particþatee
                                                                                       in tbe Scttle¡ne¡t
   Fund, wbether directly, representatively. derivativety, or in any other
                                                                               capacity) tbat Reteasors, or

   cach ofthem, ever had, now hâÊ, or herealrcr ca¡, shatt, or
                                                                 may hsve on accouor of, or in a'y

   way aríslng out o{, any qrd all k[own and unknow:! forcseen
                                                                      and unforesceq suspectcd or

   unsuspectcd inþriæ, damages, and consequatcog tbereof in
                                                                     any way arising out of orrelariug in

   aDy ìr¡¡y lo sny scr or omissíou of tbc chungbw¡ Relessces (or
                                                                       å¡y of rhem) concerning tbe
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    msnufactur€' suPPly, distribution, sale or pricing of CRT products up ro the date of execulion
                                                                                                        of
    this Agreemeot, including but not limitcd o aay conduct allcged, and causes of action
                                                                                              ssscded or

    that cor¡ld hove bcen alleged or asserrcd in class actíon complsims fìtcd ío rhis Actioo, including

    those orising under aoy feder¡l or statc anlitnrsl, rmfair compatition, unfair praoiccs, price

   disc¡ioination, unirary pricing, or trade practice law (the..Releascd claims,). Howover,
                                                                                                tbe

    Releosed Clairnc shall onþ include salcs of CRT prodr¡ct¡ th¡t aæ cubject o tbc a¡tírusr
                                                                                                 taws of

   tbo Un¡ted States, md f¡¡rther, thc Rcleased Claim¡ sh¡ll not prccludc plaintiffs fmm pursuing

   any and all of their cloims against otber defcndants for the æle of finished producfs by those

   dcfcndnnts, or their co-conspinton, which conuin Chunghwa's CRT. Rclcsson shall
                                                                                   not, af,er

   ¡he dsle of this Agrccment, seek to establish liabitity againet any Chunghwa Retessce
                                                                                            bascd, in

   whole or in part, upon any of the Released Claims or conduct at lssue in rhe Relea¡cd
                                                                                            Claims.

   Nothing in this Agreemer¡t shatl be cr¡nctrucd to retease any othcr claims, includ.ing but not

   limited lo clsim¡ for product dcfecl or pusonal injury.

                   14' In ¡ddition to the provisions of pangraph l3 of this Agreunenl Releasors
  hcreby expressly woive ond rclcasc, upon this Agre€ment hcomiug fmal, any aud all provisions,

  rights, and bcnefits confened by g t5a2 of rhc catiforni¡ civil cortc, which starcs:

                  CERTÂIN CLAIMS NOT AFFECTEq By CENER¡,L
                 RELEASE. A GENERAL RELEASE DOES NOT
                 EXTEND TO CLAIMS WHICH T1IE CREDITOR DOES
                 NOT RÀIOW OR SUSPECT TO EX¡ST IN HIS FAVOR
                 AT N.IE TIME OF Þ(ECUTINO THE RELEASE
                 1VHICH IF KNOWN BY HIM MUST HA\IE
                 MATERTALLY AFFECTED HIS SETTLEMENT IilITH
                 THE DEBTORI ]:

  or by any law of aoy state ot territory of the Unltcd States, or principlc of coulaon law, which
                                                                                                        is

  similar,comparable,orequivalcntro!l542oftheCaliforniaCivil Coite. E¡chRetæeormay

  hcrcaftcr discover fscts otber thsn or differe¡t liou tboee which bg sho, or il k¡owe
                                                                                          or belicvcs
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                                                                                        of poragraph
to bc ltlrc with ræpccl to the claims
                                        which are thc subject maBcr of the provisions

                                                    expressty w¡ivæ and fully, finally, and forever
l3 of tbis Agreemen! bur cash Rcle¡sor bereby
                                                                                         suspccted or
                                              becnming final' rny known orunknor*Í'
scttlcs and fclcascs, upon this Agreement
                                                                                         of the
                                               claim with respec to thc subject matlar
unsuspectcd, contingent or non+ontingent

                                                   whether or not conceålcd or biddeo' without
provisions of pnrugrapb l3 of thir Ageement'

regardrothcsubscçetrtdiscovcryorcxistcnccofsuchdlfrgrcntoradditionalfac|¡.

                Is.Thcreleosc,discharge,a¡dcorlenantno¡tosucsetforthinparagrapb13

ofthisAgrccmentdoesnotincludcclrimsbyanyoftbeClassMembc,rsotherthgntbeRcleased

 Chimsanddoeenotlncludeot}¡orglairu,sucba¡thosesoletyorisingoutofproductliabili¡yor
                                                                                  thc Relcased claim'ç'
                                              cotusc of business not cover€d by
 brcach of contract clai¡ns in the ordinary

 Funhcr,therelcsse,discbarge,andcovc¡untnottosucsstfoftbiuparagraph13ofthic
                                                cl¡ims'
 Agrtcment inclutles only direct'purcbaser

         D'      Setllement Amount

                 l6'Subjecttothcprovisionshercof,¿r¡dinfr¡lt,complete'andfinalscílement

  oftheActirrnusprovidcdhereìn,dcfcndan|Chunghwashs|lpay$10,000,000inUnitcdStatæ

  Dollanin|oa¡e¡crowScgountþbead[¡|nisteredinsccordancewitltthcprovisionsof

  para8nphlTofrhisAgfeement(thc..Escfo$|Account')asfol|ows:st,000'000tobcpaidby

  Augustl,2009;S4,500,000ÛobepaidbyJanuaryl0'2010¡and$4'500'0ü)tobapaidby

  Januaryl0,20ll.Inte'cstonuupoidamounEsbs¡laccruefrom30&ysofterthccxegutio¡of
                                          in lg u.s.c. g 3612(fx2). Any pid amount
                                                                                          is
  rhis Agreement ¡r rhc ,urcspecifred

                                              defauhs ou auy portiou oftbe rem¡ining
                                                                                         unuuot' Tbe
  nonrefr¡¡dsble in thc evcnt cbungbwa

                                           by roy senlement between chunghwa and
                                                                                         ¡ class Mcmbcr
  scnlsm€nt Fr¡nd will not be reduc¿d

   nor by any request for exclusio¡ from
                                             tbe Clæe'
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                    17. Escrow Accounl
                   (u)      The E¡crqu/ Accsunt will be ætablished at Unir¡o Buf|k of C¿lifomia,350

    Califomia Sbe€|, San Francisco, Califomia, witft sucb Bank senring Es errcro$, agent (,.Esc¡ow

    Agenf') subject ro cscrcw insl¡uctions mutually acceptoble to Ptaindffs' Lcsd Coursel and

    Chunghwa's sttomeysr such escrow to bo administered r¡ndcr ü¡c Couf 's coutiouing
                                                                                             supewision

    and co¡trol.

                   (b)     The Escrow Agent shall cause tl¡e ñmds deposited In thc E¡crow Açcounr

    to be investcd in ¡Dstrumenß bocked by the full faith and credit oftt¡c Unitcd St¡tes
                                                                                            Govcr¡mcnt
    or fully in¡ured by tbc Unircd St¡tes Oovcmme¡t or 8ny agcncy thereo(, oriaoney market
                                                                                                     ft¡nds

    invesled substantially in euch inslrumc¡tg, and shall rclnvcst any incorne Êom tbcse
                                                                                            instrumcnto

    and ths proceeds from thcso instruments as tbey mahue in similar insùr¡c¡ent¡ at their
                                                                                              thsn

   cutrcnt msrket retcs,

                   (c)     All fi¡nds hcld in thq Escrow Accormt shall bc deemcd and considc¡ed ro
   be in custodia legig of the Cou4 and sball remain subject to ú¡c jurisd¡ction of tbc
                                                                                          Court, until

   such time ss such funds sball be ¡listributed pußurr¡l to this Agtcmsr¡t Enüor furürer
                                                                                              orde(s) of
   thc Cou¡t.

                   (d)     Plaintiffs and Cbtinghwa agrec 1o Eeat the Sentoment Fwd as being at all

   times I "qualifted ¡cttlcn¡ent fi¡nd" within thc mcauing of Trcaa Rcg.
                                                                            $ l.46g8.l. In addition,
   the Escrow Agcnt shall timely make $¡ch etection¡ a6 nccessary or advisable to cå¡¡y
                                                                                             out tbc
   provisions ofthis pnragraph I 7, including the "retrtion.back etection" (as defrned
                                                                                          in Trees. Reg.

   $ 1,4688'l) back to thc eerl¡est permitted date. Swh etecrio¡u shatl be ¡¡adc in compliance wirh

   the procedurcs and rcquircments contained in such regularions.   h shatl b€ rhe respousibility of
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    thc Fscrcw Agent to timely aod propcrly prçare aod deliver the oecessary docr.¡nenration
                                                                                                     for
    signature by all necessary panies, and thsrean€¡ to csuse thc appropriate liling to occw.

                      (e)    For rlre purpose of$ 4688 oftrre Intern¡r Revenue code of r9g6, as

    anEndc4 and the regutations promulgated thcreuodø, the "¡d¡ninistrato¡r'shall be the Escrow

    Agent' Tte Escrow Agent shall timcþ and property filc all iofon¡atlonal and orher ta¡ returns

    neces!¡8ry or advisable with respeet to thc Scttlcmcnt Fund (including without limit¡tion ùe

    ¡eturns described in Treæ. Reg. g 1,4688-2(kxl). Sr¡ch rerums (as well a¡ rhc etection

   dcscribed ío paragraph I 7(d)) shqll bs consistent with paragrapb | ?(d) and In a¡l even13 8b8¡l

   ¡ellect that ell Toxes, os dcñned bclow (including ony esrimeted Taxes, intercsq orpe¡Eltica), on

   tl¡e income camed by thc Scttlemcnt Fund shall bc paid out of ú¡e Sertlemeot Fund as provided

   in l7(f) hercof.

                   (D       All (i) taxcs (including any est¡matcd t¡xeq íntere.st, or peoalties) arising
   with respcct to the income errncd by the Settlemcnt Furrd, including any taxes or t¡x detrimenrg

   ùrat may bc imposed upoo chunghwa or any oürcr ctunghwa RelcascE witb rcspcct to any

   incoms earned by lhe Sefttcrnent Fund for any period during which the Scnlemeil Fund does not

   qualify as a "qualificd seltlement fr¡nd' for federal or stste income tax purpos6 (,"Taxcs'.); urd

   (ii) cxpcoses and costs incured iu con¡ection with the opentiou and imptemenration of

   poragraphs l7(d) through l7(f) (inctuding, without limilrtlou, expøuce of t¡x anomeys and/or

   accol¡Dtlnls and mailing aod distribrnion co¡ts aod experu¡es reluÍng to I¡t¡Dg (or failing to filc)

  thc rerurns described ia tlris paragrsph I z(g) ("Tax Expenses")), shalt be paid out ofrhc

  Settlc¡ucnt Fund.

                  (g)       Neither Chunghws nor asy othcr Llunghwa Relo¡sec nor their respcctiv¿

  counsel sbalt b¡vc any liability or respoubility for the Taxes or Tax Expenses, Furtbcr, Taxes




                                                     t0
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    and Tax Erpenses shall bc treated ag a¡rd considered to bo, a cost ofadminlsaotion
                                                                                           ofrbc
    Settlemenl Fund ar¡d shall bc timely paid
                                                þ thc Esc¡rcw Ageot out of the Sctrlemeîr F¡¡1d
    without prior order from the Court and the Escrow Agent sball bc obligated (notwithrtanding

    Enything herein to the conrrary) to withhold fiom distriburion ro any claimants
                                                                                      aurhorizcd by the

    Court any funds necessary to Psy such srnounts including ftc cstablishmeut of adcgrutc
                                                                                                  reserve¡

    for auy Teres and Tsr Expenses (æ welt âs auy E¡nouDts that nay be required to be withheld

    under Tre¡s. Reg. g l.46EB-2(¡x2)). Ncither chunghwa nor any other chunghwa
                                                                                          Releaæe i¡

    resporuible nor sh¡ll ürcy have any liability tbc¡efore. Plaintiffs and Chunghwa
                                                                                       agree to

    cooperste witl¡ tho Escrow Agent, each olhcr, and thcir t¿r aüornyys a¡d accountant¡
                                                                                            ro thc
   exreît rcesonsbly necessary to ca¡fy out rhc provlsions ofpangraphs | 7(d) though (f).

                  (h)     If thie Agreement doct [ol recs¡ve linal Co¡¡t rpproval, or if the Action is
   not ccrtificd as a cl¡ss action for senlemcnl purposrs, tbcn sll amounb paid
                                                                                  by Chunghwa Inrc
   the Sertlcment Fund (otbø thao notiæ costs expended in ¡ccorda¡cc wlth paragrapb
                                                                                           l9(a)) shall
   bc promptlyrcturned lo Chunghwa frorn the Escrow Account by tbe Escrow
                                                                                  Açnr along with
   aay intorest cccrucd lhereon.

                  18. Exslusions. Le¡d Counsel will causccopiesofrequcste forcxclugion
   fiom tho Class to be provided !o counsel for Chunghwa. To úe extent tbat Class
                                                                                       Membcn (or
   any of them) reesonabþ bclisvcd by chunghwa to reprcscnt purchases of
                                                                              more rhan

  f 100,000,000 of cR'l' producb from chunghwa during the clsss peñod opl out
                                                                                      of the oass,
  chunghwr may, if aciing reasonably and in good faith, tcrminaæ tlre Agreemenr
                                                                                       within sixty
  (ó0) days ofrcccipr ofrhe f¡n¡t lisr ofexclusions.

                 19. Pàymçnt Of Exocnses.



                                                   II
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                    (a)     chunghwa ågrccs to pcrmit rue of r ¡narimum of $400,000 of tbe

     scttlcmst¡t Fund towards notice to the cl¡ss and ¡dministratior costE.
                                                                               The $400,000 j¡ ¡otice

     and cl¡ims adrnlnisration expe¡Bes Erc nol rccoverBble if rhis
                                                                      settlement docs n¡¡t bcc¡mc final.

    othcr than æ set forth in this porograph l9(a) and except as Ptainrifns'
                                                                               counset f.Class Counsel,)

    shall opply forreimbu¡semeor ofcosts and anorneys' fccs punuant
                                                                           to paragraph 23 betow,

    neilhcr Chunghwa nor any of the othcr Chunghwa Releasees u¡dcr rhis
                                                                               Agreemenl sl¡all bc liabte

    for any ofthe costs or expensss ofthe litigltion ofthe Âctior. including
                                                                                aflorneys, fees; feee and
    cxpensç6 ofexpcrt witne¡ses and coneultanu; urd costs aud
                                                                 cxpcoses a¡socioted witb discovery,

    motion practicc, hearilgs before ths court or any Speciel Maeter, appeals,
                                                                                  trialc or negotiation of

    other sefilemeats, or for Class adml¡isuatjon and coob.

                  (b) lf Lead Cou¡uel enteß ¡nto arty other setdements on hhatf of thc Ctaßi
   bcfore noticê ofthis A¡¡eement is given to rhe Clæs, Lead Counscl sh¡ll u¡e
                                                                                    thei¡ rcasonabte

   bcsl cfforts to provide a singlc noticc to prospcctive Ctass Meg¡bsn
                                                                           of all of the senlemcnts.
                  (c)     Following final approval of thir Agreemcnt by thc cour, clæs cou¡uel

   may use' subjr;ct to prior approval of the coun, up ro s500,000 of thc
                                                                            senlcment Fund for

   exPcnsct insuncd or to bc incu¡red for thc prosccutio¡ of the sclio¡
                                                                          on behalf of tl¡e Oass

   ¡gEinst non-oÉn ling defendants.

          E.     The Scttlement Ftmd.

                 20- Releason shall look solely lo thc Setdcrncnt Fund for settlement and
  salisfactíon egaínst tbe Chunghwa Rclcasc€s of atl Released Claims,
                                                                          and ¡hall h¡ve no other

  rccoverJ against Cbunghwa or any other Chunghwa Relea¡ec.

                 zr.      ARer ù¡ic Agrce''enr becomeg finar wirhia thc mcaning ofparagnpb
                                                                                                   r t,

  the Senlemcnt Fund sball bc disributed in accordance wittr
                                                               the plan to be submitted at the




                                                  t2
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    sppropriate time by Plaintiffs, subjecl to approval by the Couf. In no evenl shall any Cbungbwe

    Releasee bave any responsibility, financial obligatio4 or tiability whaGocver with respect to the

    invcatmcnt, distribution, or administra¡ion of the Senleúc¡¡t Fu¡d, inctuding bul not limited tq

    the costs and erpcnscs of such dinribution and administ¡ation, with ths sole exception of the

    provisions set forth in paragnpb t9(a) of rhir Agrcomcnr.

                   22. Plaintiffs and Class Coun¡cl chall bc reimtu¡sed and indcmnificd solely
    out oflhe scnlcmenr Fund for oll expcnscs. The chunghwa Releasees shill nor bc liuble for any

    cosE, frss' or exPenses ofany ofPlaintifib' or thc Class' respcctive allorneyc, experb, advi¡ors,

    68ent8, oÍ rcprcsentativec, but all srcb costs, foos, end expenses æ approved by the Cowt shall

    be paid out of tbe Setrlemenr Fund.


                  23, Class.Counsel'¡ Aüomev¡' Fees fuid Reimburpøre¡t Of Expens6.
                  (a) Class Counsel may submil an appliøtiou or applicatioas ro rhe Court (the
   "Fes and Expcnec Application") for di¡tribution after this Setttement bccomes tìnal to rbem fiom

   thc Seillcmcnt Funrl and c-huoglwa shall not oppose sucb apptícation for: (i) an aw¡rd of

   anomcys'fee¡ not in cxcess of one-tl¡ird of lhe Senle¡nent Frurd; ptus (ii) reimburscment of

   cxpcn3cs and costs incur¡ed, or to be incuned, Í¡ co¡nection with prosecuting the Action, ptus

   intcrest on such ellorncys' fees, costs, and experuæ at tbc ssme ntc and for tbe samc pcriod as

   caracd by the sertlemear Fund (until paíd) æ may be ewarded by the Conrt (tho,.Fcc aad

   Expensc Award'), Class Cor¡nscl re¡ervc the right to make addition¡t applications for fees and

   cxpcnsss incu¡rcd, but in no evcn¡ shall Chungbwa Relcasccs bc rcsponsiblc to pay any oucb

   additional fees and expentss excapl to tbc exte¡t they are paid out ofrhe Settlemeot Fund.

                 (b)     Tbc Fcc and Erpenso Award, æ approved by rbe Cou4 sboll bc paid

   solely from the Setttement Fr¡nd. Lead Coun¡el shall allocatc thc aíome¡rc' fees among
                                                                                            Clars




                                                  t3
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    Counsel in a manner which they in good faith believs æflccts the contibutions of euch counsel

    to the prosecutios and rctt¡cmcnt of thc .Action.

                   (c)     Thc proceduro frr o¡d ihe allqwancc or disallowa¡ce by råe Court of tbc

    applicrtion by claas counscl for anorncys' ceeq costs aad cxpenscs !o bo paid ou3 ofrhe

    Sctllcment Fuod arc not part of tl¡ls Agr€ement, asd are to be considøed by the Courr separarcly

    from thc Court's considcration ofthe fairness, reosonablcness, and adequacy ofthe scttlcmcoÇ

    and any order or procceding rclating lo tbe Fec and Expense Applicatirm, or any appeal from any

   susb ordcr shall not operate to terminetc or ca¡cel this Agrecment, or affect or dclay thc finality

   of lhe judtmcnt approving gsttløncnt

                  (d)     Ncither Chunghwa nor any other Chunghwa Rele¡sec undcr rbis

   Ag,rcemcnt shall hsve any rcsponsibility for, or i¡tcrcst in, or liability whotsocvet with respecr to

   ar¡y paymont to Class Counscl of any Fee and Expense Award in thc Action,

                  (e)     Nsiùc¡ Chunghwa nor any othc Chunghwa Releasoc under this

   Agrecmcrrt shall have any rcsponsibility for, or inteml in, or liability whstsoever with rcspcot ro

   thc allocation amoug Class Counscl, and./or any othcr person who may asscrl 6ome ctaim thcreto.

   of any Fec and Expense Award tl¡st tbc Court ncay makc i¡ thc Aotion.

       . F.       Coooe¡radon.

                  24. Chunghwa agr€es to coopcrate with Plaintiffs, to the exteut consistent wirh
   chunghwr's obligations to the u,s. Depanmcat of Justice ("Dor), by (i) proncptty providing a

   full eccount to Lcsd Counscl of all fact¡ knowr to Cbungbwa ùal sre ¡elev¡nt to the Actiorr, (ií)

   producing in the United Statcs tclsvant documeots relating to soles, pricing, cryacity, productior\

   and drmages, includíng English translations to the extent ressotr¡bly roquired, as wett as

   documcnts (including English translatíons) suflicienl lo evídesce aoy coltusivc meetingp among




                                                    t4
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    CRT makers and tbc maruler in whicl¡ ury alleged conspiracy was formed, implemented, and

    enf'orced, to thc e¡tent known by Chungbwa, (iii) naking available appropriate czrployees for

    sucb interviews and dcpositions Es enc reesonably required by Lead Counsel, and (iv) producing

    st trial in Person, by dcposition" or alfidavit, whichwor is legally ncccssary and reasonobly

    possible, represcntativeo to testiff as reasonably æquircd by Lead Counsel. Norhing in rhis

    paragrapb 24, or any other part of tbis Agrccmeot, sball bc construcd or interpreted to bc

    inconsistcnt with thc discovery.stay in plrce in this Action. Any cooperarion   þ chunghwa
    pursuant to ttris paragraph 24 will be consistent with rhe rerm¡ of tbe diæovery stry aod

    Chunghwa's conti¡u¡ng obligationu to thc DOJ. If Chungbwa faih ro coopente a8 set forrb in

    thie pamgraph 24, Ploi¡tilTs m¡¡ if acting reæonably aud in good faith, tcrminatc tho

   Agrecmeol.

                   25, Ptaiutlffs and Lcüd Counsel agrw thc,y will not usc the informarion
   provided by Chunghwo as part of its cooperation for uny purpose other than pureuit of tho Auion

   and, evcn aftcr the lifling of thc discovcry say, will not publicizc thc information bcyond whar is

   reasonrbþ ncccsssry for the prosecutlo¡ of tbo Action or as othcrwise required by law. Any

   documcnts ¡nd othcr Information provided will bc deemed "Highly Confidential" and subjcct to

   thc protective ordcr cmtcred in the Action as if thcy had becn producod in resporæe to discovcry

   rcqucsls.

                  26, Except ae providcd in paragraph 24 of rhis Agrecmcnt, Chunghwa need
   not rcspond to formal discovery from Plaintifrs, rupond to tbc complaiot, or othelwise

   padicipate i¡¡ tl¡e Action during the pendency of rhe Agreemcnl. Neithsr Cbunghwa aor

   PlaintilTs shsll file motions sgainst the other during rhe pÊndency of the Agreemeur. l¡ thc cvetrr

   that the Agreemeut is not approved by tlrc Coun or otherviso tcrminater, Chunghrva and




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    Plointiffs wiü each bc bound by and have the benefit of rny rulings made in rhe Action ro the

    exterl they would hsvc bceu appliceble to cbungbwa or plsin¡¡ffs had chunghwa bcen

    pslicipst¡lg in tl¡c Action.

                   27. Chungbwa agrccs thar it will so disclose publicly or to any othcr
   defendant f,he terms of this Agreemenr until lhe Ageement ís submined to tbe court for

   approval. Cbunghwa also agrecs that ít will not disctose pubticly or to æy othsr defendant tl¡c

   information provided lo P¡Eintiffs pursuürt to tbis Agrcemcnt, except as otherrvisc required by

   lsw.

           G.      Ruscigsion If Thi¡ Agttement ls Not Apuov"d Qr Final Jrdntnunt Is Not EÃter"d,

                   28- If thc court ¡cñ¡scs to epprovc this Ageemcnt or aoy part hereo[ or if
   such approval is modified or set aside on appeal. or if thc Court <loct nor ceñiff for purpoacr of

   ¡his settlcment the Class described in paragraph l, or if thc Court docs not enter rhc final

  judgmenl' or if finaljudg¡nenl is gntsr€d Bnd appcl¡ste rwicw is se'tht, snd on sucb rcview,

   sucb final judgment i¡ not afErmcd in ik cntlrety, then Chrughwr a¡d tbc Plaintiffs sha[ eacb, in

   their solc discrcrion, h¡ve the option to rucind this Agrcernent in iS entirety. Written notic€ of

   thc cxerciss of ary such right to rescind sball bc rn¡ds according to thc tcÍDs of paragrapb 39. A

  modificallon or rsvcrsal on appcal of any amount of Class Coun¡sl's fccs and €¡pens€6 swarded

  by the CuÛt Êom the Settlemcnt Fund shall not be deemed a modificuion of all or a parr of rlrc

  tcrnu of tbis Agrecment or such fioal judgment.

                  29. ln rhe cvcnt that this Agrecment docs not becomc ñnal, then this
  Agrcemalt shsll be of no tìrrce or etfecl aod any and alt parts of thc Settleme¡t Fu¡d caused to

  bc dcposited i¡ thc Escrow Accoust (including inte¡est earmd thereon) shall bc returned

  fonhwith to Chuugbwa less only dísbuËements made in accorda¡cs wjth this Agreement.




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   Chunglrwa exprcssly rcscrvcs all of its righu if tlrie AgreEmenl does not become fìnal Further,

   and in any event, Plaintifrs and Chrmghwa agree thst th¡B Agrccnent whahet or not it shsll

   bæomc final, ond ony and all negofiarioas, documeds, and disctssion¡ ssssciated with it, shall

   not be dee¡r¡ed or constn¡cd to bc an admision or cvidcncc of aly violation of any statute or law

   or of ouy liability or wrongdoing whatsoever by Chugbwa (or the Chunghwa Releasees), or of

   the truth of ury of thc claims or allcgation¡ cont¡ined in the complaínt or any othcr pleading filod

   by Plaintitfs in tho Adion, aud evide¡ce thercof ¡hdl not bc discoverable or used dircctly or

   indirectty, in any way, whcthcr in thc Aøion or in uy oÛrcr gction or proceediug.

                  30. lrie Agreemcot sh¡ll be construed ard iuerprctcd ro cffcctu¡tc thc intent
   of thc particc, which is to provide, tbrough this AgreemcnÇ for a complcte rcsolulion of the

   rclcvant cl¡ims with rcspcct to each Chunghw¡ Relessee as provldod in this Agreerocnt

                  3   |,   The partics to this Agreemenl conteûipl¡tc and agree thaç prior to final

   approval of thc setrlemeot os providcd for in paragraph l0 of this Ageement, appropriatc notice

   of (a) thc sertlemcnç ar¡d (b) a hearing at whicl¡ the Court witl consider the approvrl of rhis

   Senlemeot Agæcr¡cnt will be glvct to Clæe Member¡.

          H.      Miscellaneous,

                  32. Thls Agrcemcnt do€s not ¡ettls or compromise any clainr þ Plaintifre or
   any Class Member asserted in the conplaint agairul ony defenda¡t or alleged co-conspintor

   other than thc Cbunghwa Releascec. All rigbls ugainst such othcr defendants or ollegcd co-

   conspirators are specifically rcscrvcd by Plaintiffs and thc Clase. Chrmgbwa's salc 1o tbc Class

   sh¡ll not by removed fiom the Action.

               . 33. This Agrcemcut shall ¡ot affect whatever rigbu Rcleasors or any of thcm
   may have (i) ¡o seek damages or othpr relief fiom any othø person with respect to aoy purchases




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   of CRT producG that a¡c not rubjcct to the antitn¡st laws of üre United States; (ii) to participaæ

   in o¡ bcncf¡t from, where appropriatg any rclicf or other rccovery as part of I senlcmenl or

   judgment in any action on behalf of any indirect purcbasos of CRTproô¡cts; (iii) to porticipatc

   in or bcnefil frorn any retief or recovery as part of a judgment or senletr¡cnt in this action against

   any other pery named sõ a defendanr (other th¡n o Chunghwa Releasee); or (iv) to asscrt any

   pmduct liability o¡ bre¡cb of contract claims in the ødínary coursc of bu¡incss which arc not

   covered by tbc Relcased Ctaims,

                   34, ltc United Sutec Distict Court for tl¡c Northem District of Celifornia
  shall retain jurisdictioa over the impleneulation, cnforcemeul, u¡d psrformanco of this

  Agreement, ¡nrl sbalt havs exclusivc jruiedict¡on ov€r atry sì¡it, aetio¡, proceeding, or disputc

  arising out of or relating to this Agreement or thc applícability of this Agrcement that co¡oot be

  reeolved by negotietíon ald agreemeut by Plaintiffr and Chungbwo, Thio Agreemcnt shall be

  govcrned by and interyrcted according to the n¡bst¡ntivc lsws of the sute of C¡lifomia without

  regard to iB choicc oflaw or conflict oflaws principles,

                  35, This Agreemeot cÐns¡iiltes the entírc, complete, and integrated ag¡eemcnt
  bctwecn Pl¡intiffs and Chunghwa pcrlsining to the sentement of the Action against Cbunghwr,

  ard superscdes oll prior and contempo¡Encous undertakings of Plaintiffa urd Chunghwa in

  connection beæwirb. This Agresment may Dot be modificd or rmended excæpt in writlng

  exccuted by Plaintiffs and Cbunghwa, ald approvedby the Court

                  36, This Agreement shall be biudilg upon, and inure to the beuefit o[, the
  susçcssors and assigns of Plaintiffs and Chunghwa. Without limiting the gcnerality of tbe

  forcgoing, each and €very çoyeoaot and agrcement made berei¡ by Plaíutiffs or l¡ad Counscl

  shall be binding upon all Class Mcmbcrs and Releasors. The Cbunghwa Releosees (other than




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    Cbunghwa, which is a party hereto) are third-party beneficiaries of this Agreement end
                                                                                              ¡re
    authorizcd to etrforc€ irs te¡ms appllcable to thern.

                      37. This Agrcemenr may bc *ecured in co'nrcrparts by praintiffs ard
    Chunghwa, and e facsimilc signnture shall bc deemed an original signature for purposes
                                                                                               of
    cxccuting ùris A grecmcnt.

                     38. Neither Plaintitß nor Chunghwa sh¡ll be cor¡sidcred rhe drafter of thi¡
   Agrcement or eny of its provisions for thc purposc of any st'tutÊ, casc law, or rule of

   intcrprctatlon or constn¡clíon that would or might couse any provision to be co¡strucd
                                                                                             egaiast thc

   drafrcr of this Agrecmcot.

                     39'    Where thie Agreemeut rcquires eiùcr party to provide noticc or any orher

   commuuicalion or documcal to thc other, sush notice sbnll be in witing, and such notico,

   communication, or documcnl shall bc provided by facsimile or lettcr by ovenright dctivcry
                                                                                                   to thc

   undenigned counsel of record for rhc party to whom notice is bcing provided.

                  4   l.   Eacb of thc undcrsigned sno'eys repr.Ecnrs that be or she is futþ

   suthorized to enlcr into thc termS and conditions o(, and to cßecute. tbis Agreement, subjcct
                                                                                                    to

   Court approval.




   Dated: Ma¡ch       / ,ro[g
                                                  Ssveri & Savcri, Iuc,
                                                  706 Sansome Strcct
                                                  Sa¡ Fr¡neisco, CA 941 I I
                                                  Lcod Counscl and Åttotnqnþr the Ctess




  ou,.¿,   #¿!roo,                                el¡g ert*Ar( -YL
                                                 Qtficcrof Churqhwe Plètwc Tubes, Ltd.



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    oarr¿,   M*r-N zoos
                               Gib¡on, Ilunn & Crutcher LLp
                               555 Míssio¡ Street, Suite 3000
                               Srn Francisco, CA 941 0S
                               Åturncylor Chungh*z plcture Tuöes, Ltd,
    t005Irú0¡_:.Drr




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            EXHTBTT 2
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                           UNTTED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF' CALIFORIITIA

                                SA¡T FRÄNCISCO DTVISION

 IN RE: carHoDE RAY TIIBE (cRD )                         Master f,'tte No. cv-07-5944 sc
 AIìITITRUST LITIGATION        )
                                                 )       MDL No. 1917
 THIS DOCUMENT RELATES TO:     )
 ALL DTRECT-PTTRCEASER ACTIONS )


                                SETTLEMENT AGREEMENT

         This Settl€,ment Agreeineirt ("Agreemenf) is made and e¡rtered into this I
                                                                                        t ¿"V
 of February, 20l2,by and betv*efl Koninklijke philips Elecironics N.v., philips
Elechonics North America Corporation, Philips Elecüonics Lrdustie.s (Taiwan), Ltd.,
                                                                                             and
Philips da Amazonia Indr¡stria Electroníca Ltda (collestively "philips') and the direct-
purchaserplaintitrclass representatives ("Plaintift'), both individually and on
                                                                                    behalf of
a settlemøt class of direct purchasers of cathode RayTirbo (cRÐ products (.The

Class') as more particularly defined in paragraph A.l below.
        TWHEREAS' Plaintiffs
                                 are prosecuting the above                              (CRI)
                                                             ^Iz Re Cathode Rcry Tsbe
AntitrastLitígafioz, MDLNo.l9l7 (N.D. Cal.) (the"Action') onttreirownbehalf and
onbehalf of the Class ¡gains! nmong others, philips;
        WHEREAS' Plahtift allege tbat Philips participated in an r¡nlawfi¡l conspiracy to
raisg fix, maintain, or stabilize the price of CRT produc-ts at mtificialty high levels in
violation of Section I of the Sherrnan Act
        WHEREAS, Philips denies Plaintift' allegations and has asserted defe,nses to
Plaintiß' clarms;
        WHEREAS, Plaintiffs have conducted an investigation into the facts and the law
regarding the Action and have concft¡ded that resolving claims against philips according
to the terms set forth below is in the best interest of plaintiffs and the class;

        WHEREAS, Philips, despite its belief that it is not liable for the claims asserted
and has good defenses theneto, has nwertheless agreed to enter into this Agreernent
                                                                                        to
avoid further expense, inconvenience, and the disEaction ofbgrdørsome and protacted
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litigation, and to obtain the releases, ord€rrs, and judgment conternplated by ttris
Agreeinent and to put to rest with finality u¡1 slaims that have bee¡r or could have been
æserted agafutst Philips based on the allegations of the Actior¡ aE more particularly set out

below;

         NOW TI{EREFORE, in considerationof the coveûaots, agree,ments, and releases
 set forth herein and for other good and valuable consideration, it is agreed by and arnong

the undersigned ttrat the Action be settled" compromisd and dismissed on the merie

w        ,,idice as to the Philips Releasees, as defined below, and exce,pt as hereinafter
Pi.    ,*'f without costs as to Plaintiffs, the class, orPbiþs, subject to the approval of
the    ;;rt on the following terms and conditions:
         !,:rì.,.itions.

                   l.      For purposes of this Agreemenr "the class" and "class period" a¡e
             -lní¡';jr;i'cmsolidated Amended complaint or, if that complaint is amended
                        ,lüú,ú. the time this agreernent is presented for preliminary approval.
The parties to ttu¡ .{greement hereby stipulate for prrposes of this settleme,lrt only that ttre

require'nr ,,ts of Rules 23(a) and23(bx3) of the Federal Rules of Civil Procedure are
satisfied.

                   2.      Forpurposes of this Agree,rrelrÇ 'çRT Products" shall have the
meaning as defined in the Consolidatd Amended Complaint or, if that Complaint is

amended tlie operative complaint at the time this agreemeirt is presented for preliminary
approval.
                  3-       "Philips Releasees" shall refer to Philþs and to all of its respective
past and pres€nL direct and indirect, parents, subsidiaries, effili¡fss; the predecessors,

successon¡ and assigns of anyof the above; and each and all of thepresent and former

principals, parfrre,rs, officers, directors, supervisors, e,mployees, agents, representatives,

insurerq attorneys, heirs, executors, administators, and assigns of each of the foregoing.

'?hilips Releaseef'does not include any defendant in the Action other than Philips.
                 4.        'Class Mernbed'means each mmber of the Class who has not
timely elected to be excluded from the Class.




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                 5-      "Releasots" shall refer to the direct-purchaser plaintiffclass
 represeirtatives and the direct-purchaserplaintiffClass M€,mbers, and to theirpæt and

 present officers, directors, employees, agents, stockbolders, attomeys, servants,

 re,preseirtativ€s, parents, subsidiaries, affiliæes, partners, insr¡rss and all other persous,

 partrerships or corporations with whom any of the former have bee,n, or are now,

 affiliated" and the predecessors, succ,essorr¡, heiß, executives, administators and assigns
 of anyof the furegoing
                 6-      "The settleinent Fr¡nd" shall be $27,000,000 ress the opt-out
 reduction specified in pæagraph l8 phæ accrued interest on said deposits set forttr in
 paragraph 16.

                 7,      "I-æÅ Counsel" shall refer to the law firrr of;
                         Guido Saveri
                         R Alexander Saveri
                         Save,ri & Saveri, Inc.
                         706 Sansome Ste€t
                         San Francisco, CA    g4lll
        B.       Ap'proval ofthis Agreemeirt and Dismissal
                 of Claims Against philios.

                 8.     Plaintift and Philips shall use their best efforts to effectuate this
Agreerrenf including cooperating in seeking the Court's approval for the establishment
of procedues (including the giving of slass notice under Fed€rat Rules of Civil proceù*e
23(c) and (e) to secure the prompf completg and final di$ni$al with prEjudice of the

Action as to Philips Releasees only.
                 9,     Plaintiffs shall submit to the Cor¡rt a motion for authorization to
dísseminate notice of the settlerasrt and final judgnent contemplated bythis Agreement

to all class mernbers identified byPhilips (the'Motion'). If notice ûo the class is given
jointly with any other settling defe,ndant, forpu4loses ofparagraph 19 below,
                                                                                    the costs of
notice and claims administation shall be prorated with any other such def€Ndant based on

their respective settlement a¡nounts. The Motion shall ¡.1u¿e (i) a proposed form o{,
method for, and date of dissemination of notice; and (ü) a proposed form of order and




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final judgnent. The text of the foregoing items (i) and (ii) strall be agreed upon by
Plaintiffs and Philips before submission of the Motion, with the understanding thaL
among other things' individual notice of the settlernent shall be mailed by regular mail or

e,mail, with appropriate notice by publicatioq with all exporses paid from the Settler¡ne,lrt

Fund zubject to paragraph l9(a). Philips will supply to læad Counsel, at Philips' expense
and in zue,h form as may be reasonably reqtrested by Lead counsel, such nmres and

addresses of putatíve class members üo the extent reasonably available in Philips' records.

The Motion strall recite and ask the Cout to find that the mailing of the notice of

settlernent to all meinbers of the Class who cau be identified upon reasouable effort

constitutes vali4 due and suffisi€nt notico to the Class, constitutes the best notice
practicable under the circumstances, and complies frrlly with the requirerrents of Federal

Rule of Civil Proceù¡re 23.

                10. Plaintiffs shall seeþ and Philips will not object r¡nreasonablyto the
e,lrtryof an order and final judgmelrt, the te¡ct of which Plaintift and philips shall agree
upon. The ten¡rs of that order and +inal judgn€ût will include, at a minimwr¡ the
substance of the following provisions that:

               u       certiSing thc Class described in paragraph 1, pursuant to Rule 23
                       of the Fedqal Rules of Civil Proce.dure, forpurposas of this
                       settlement as a settlernent class,

             . b.      as to the Action, apprcving finallythis settlerne,lrt and its terrrs as

                       being a fair, reasonable and adequate settlement as to the Class
                       Meinbøs uritrin the meaning of Rr¡le 23 ofthe Fed€ral Rules of
                       civil Procedr¡re and directing its consummation according to its
                       terms;
               c.      as to Philips, directing that the action be dismissed with prejudice

                       aud except as provided for in this Agreenren! without costs;
               d"      reserving exclusive jurisdiction over the settlement and this
                       Agreemeig including the adminisF¿tion and consummation of this




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                       settlerm€nt to the Unitd States Dishict Court for the Norttrern

                       Distict of CaliforníE
   '           e.      resendng exclusive jrnisdiction over the settleme'nt and this

                       Agreemør! inchrding the ad¡¡rinistation and consr¡mmation of this
                       settle,me,nt to the United States Distict Cotrt for the Northern

                       DisEict of California;
               f,      deterurining r¡nder Fderal Rule of Civil Ptocæû¡re 54(b) that there
                       is no ju* reason for delay and directing that the judgme'lrt of
                       dismissal as to Philips shall be ffnal; and


               l l.    This Agr€,me,lrt shall becomo final when (Ð the Cor¡rt has entered

a final order certiffing tho Class descib€d in Paragraph I md approving this Agree'melrt

under Federal Rule of Civil Procedrre 23(e) and a final judgment disrnissing the Action

with prejudice as to Philips Releasees a$inst all Class Merrbers and without costs other
than those provided for in this Agreeinent, and (ü) tho time for appeal or to seek
permission to appeal from the Cor¡rt's app'roval of this Agree,nre,nt and entry of a final
judgmelrt as to Philips Releasees described ín (i) hereof has orpired or, if appeald

ap'proval of this Agreeurent and the final judgme,nt as to Phiþs Releasees have bee'lr

affirmed in their entiretyby the Cor¡¡t oflast resort to which such appeal has beeri tak€tr
and such atrrmance has become no longer zubject to fi¡rther app€al orreview. It is

egre,€d that the provisions of Rute 60 of the Fed€ral Rules of Civil Frocedure shall not be

taken into accouot in determining the above-stated times. On the date that Plaintiffs and

Philips have executed this AgeemenÇ Plaintitrs and Philips sh¿ll be bouod by its terms
and this Agreeinent shall not be rescinded except in accordancc with paragraphs l7(h),

24 ot28-29 of this Agreeinent
                12. Neither this Agreement (whether or not it should become final) nor
tlre final judgmetú, nor any and all negotiæions, docurnents and disctæsions associated

with thern, shall be dee,rred or constn¡ed üo be an admission by Philips (or the Phiþs
Releasees) or evidence of any violation of any statute or law or of any liability or

wrongdoing whatsoever by Philips (or the Philips Releasees), or of the tnrth of any of the



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 claims or allegationç contained in any complaint or any other pleading filed by plaintiffs
 in the Action, and evidence thercof shall not be discoverable or used directly or indirectly,

 in aoy wa¡ wheither in the Astion or in any other action or proceeding. Neither this
 Agree'nent nor riny of its terms and provisions, nor any of the negotiatíons or
 proceedings connected wíth it, nor íury other action taken üo carry out this Agpç¡¡1ent
                                                                                                by
 any of the settling puties shall be referred to, offered as evidence or received. in evide,nce

 in any pending or frrtr¡re civil, criminal, or adminisfrative action or proceedings, exce,pt in
 a proceeding to enforce this Agreærrelrt, or to defend against the assertion
                                                                                 of Released
 Claims, or as othem'ise required by law,
                C.      Release. Dischargg,t¡pd CovenantNot b Sue.

                 13. In addition to the effect of any final judgmørt e,ntered in
accordance with this Agreerren! upon this Agreemelrt becoming final as set out in

Paragraph 1l of this Agreemanl and in consideration ofpa¡ment of the Settlerne,lrt

Amountn as specified in Paragraph 16 of this Agreemelrt, into the Settlemmt
                                                                             Fund, and
for other valuable consideration, the Philips Releasees shall be completeþ releasd
acquitted' and forcver dischrged from any and all claims, dernands, actions, suits,
                                                                                            causes
of action, whether class, individual, or othern'ise in nature (whether or not any Class
Mernberhas objected to the settlemøt ormakes a claim upon orparticipates in
                                                                                      the
Settlerneirt Fund, whether directly, representatível¡ deriv*iveþ or in any
                                                                                other capacity)
that Releasors, or each of thein, e\¡€r ha4 now has, or hereafter car¡ shall, or
                                                                                   may have on
accotmt o{, or in any u'sy arising out of, any and all known aod uknow¡t
                                                                                foreseen aod
unforesee,n' susp€cted or unsuspected actual or contingø! liquidated or unliçridated

claimg injuries, darnages, and the coru¡equelrces thereof.in ariy way arising out of or
relating in any way to any act or omission of the Philips Releasees (or aoy of the,m)
concerning the manufact[e, supply, distibution, sale or pricing of CRT products
                                                                                        up to
the date of exesution of this Agree,mør! including but not limited to any
                                                                               conduct alleged
and causes of action asse,rted or that could have bee,n alleged or asserted"
                                                                               in any class
action complainæ fil€d in the Actioru including those arising under any federal or
                                                                                        state
antitilst unåir competition, unfairpractices, price discrimination" unitarypricing or



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 tade practice law, (the "Released Claims'). However, the Released Claims shall only
 inch¡de sales of CRT Proô¡sts that are stùject to the antitn¡st laws asserted in the

 Amended Consolidated Complaint or, if that Complaint is anrende{ the operative

 complaint at the time this agree,rne, rt is presented for preliminæy approval and firrther, the

 Released Claims shall not preclude Plaintiffs from pursuing any and all claims against

 other defe'ndants for the sale of CRT Produsts by those defendants, or their co-

 conspirators, which contain Philips' CRT Products. Releasors shall nof after the date
                                                                                           of
 this Agreeinen! seek üo establish liability against any Philips Releasee based, iû whole
                                                                                               or
 io purt, upon my of the Released Claims or condr¡ct at issue in the Released Claims.
Nothing in this Agreerne,lrt shall be constn¡ed to releaso any other claims, including but
not limited to the claims for product defest or personal l¡fiury.

                14. In addition to the provisions of Paragraph 13 of this Agreønenq
Releasors hereby expressly waive and release, upon this Agreemeut becoming final,
                                                                                          any
and all provisions, rights, and beneûts conferred byt t542of the Califomia
                                                                                Civil Code
which states:


        RELEASE. A GENERå,L RELEASE DOES TVOI ùrrUNO rO
        CI.AIMS TWHICH TIIE CRBDITOR DOES NOT KNOYtr OR
        SUSPECT TO ÐgST IN HIS FAVOR AT TTIE TIME OF
        Ð(ECT.ITING THE RELEASE, \ryHICH IF KNOWN BY HIM
        MUST HAVE N4ATERIALLY AFFECTED I{IS SETTLEMENT
        wnH TrrE DEBTOB
or by any law of any state or teiritory of the United States, or principle of common
                                                                                        law,
which is similar, comparablg or equivalent to' l542of the Californi¿ Civil Code. Each
Releasor may hereafter discover facts other than or different from those
                                                                            which he, shg or
it knows or believes to be true with respect to the claims which are the subject matter
                                                                                          of
the provisions of Paragraph 13 of this Agreemen! but each Releasor hereby
                                                                                expressly
waives and fully' finall¡ and forelrer settles and releases, upotr this Agree,me,nt
                                                                                    becoming
final, any known or ruknown, suspected or unsuspected, contingent or non-continge,lrt
claim with respect ûo the subject matter of the provisions of Paragraph 13 of this




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 Agreeme,nt, whether or not concealed or hidden, wiüout regard to the nrbseque,nt

 discovery or existence ofsuch different or additional facts.

                15. Tbe release, dischargg and cove,nant not to sue set forth io
 Paragraph 13 of this Agreement does not inch¡de claims by any of the Class Mernb€rs

 other than the Released Claims and does not include other claims, such as those solely

 arising out of product liability or breach of contract claims in the ordinary cogrse of
 business not covered by the Released claims. Further, the release, discharge and

 cov€nånt not to sue set forth in paragraph 13 of this Agree,lnent includes only the claims

 of the Releasors as alleged in the Amended Consolidated Complaint or, if that Complaint
 is amended the operative complaint at the time this agreemelrt is presented for

preliminuy appnrval. The Releasors hereby covenant and agree that they shall no!
hereafter, sue or otheru¡ise se€k to establish liability against any of the phiþs Releasees

base{ in whole or in parÇ upon any of the Released Cleimr.


        D.      Settl€,ment Amounl

        16. Subject to the provisions hereoû and in firll, complete and finat settlement
of the Action as provided herein, defendant Philips shall pay the Seûtlement Amor¡nt of
$27,000,000 less the opt-out reduction set forth in the table contained in paragraph lg
                                                                                           of
this Agreerrent in United States Dolla¡s (the "settleme,lrt Anrounf). The Settlernent

Amor¡nt sh¿ll be paid into an escrow accormt in United States Dollars to be administered
in accordance with theprovisions of paragraph 17 of this Agree,me,nt (the..Escnow
Accounf) according üo the following schedule: $12,000,000 to be paid within 60 dap
from end of the month of execution of this Agreemen! and the balance (if any) to paid
within 30 days of this Agree,me,nt becoming final as provided in paragraph 11. lnterest on
unpaid amounts shall accnre from 30 da1æ aftø zuch paynents are due under this

Agreement at the rate specified in lB u.s.c $ 3612(Ð(2). Any paid amount is
nonrefrurdable in the event Philips defaults on anyportion of the r€maining anount.




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           17. Escrow Accounl
           (a)    The Esctow Account wilt be established at Citibanlq N.A.
                                                                               - Citi private
 Banlç san Francisco, californiq with such Bank seniing as escrow agent (.Escrow
 Agenf) zubject Ûo essrow instn¡stions mutually acceptable to Plaintiffs' Lead counsel
                                                                                                and
 Phiþs, such esc¡ow to be administered rmder the Court's continuing zupenrision and
 conFol.
           (b)    The Es6ow Agent shall c¿use the fi¡¡rds de,posíted ín the Esc¡ow Account
 to be invested in short-term instrunrøts backed by the full faith and
                                                                         credit of the United
 States Govqnment or firlly insured in uníting by üe United Staûes Governmen!
                                                                                      or money
 marlset fuûds ratd Aaa and AA.Ag raspectively by Mood¡rs Investor Se,lr¡ices
                                                                                   and
 Standard and Poor's, invested substantially in such instrments, and
                                                                     shall reinvest any
 income from these instn¡rrents and the proceeds of these instr¡ments
                                                                          as they matue in
 simil4¡'instn¡meirt at their then cr¡¡røt market rates.
        (c)      All ñ¡rids held in the Escrow Account shall be deemed md considered to
be in custodia legis of the Courf and shall rernain subject to the jurisdiction
                                                                                  of the Courq
until such time as zuch funds shatl be dishibuted pursuant to this Agreeurenrt
                                                                                  and/or
firthø order(s) of the Cor¡rt
        (d)      Plaintiffs and Philips agree to freat the Settlement Fund as being at
                                                                                          all
times a galified settlement fuid within the meaning of rreas. Reg. gl.46g8-1.
                                                                                      kr
additiot¡ the Esctow Ageirt shall timely make such elections as nec€ssary
                                                                               or advisable to
carry out the provisions of this paragraph 17, including the relation-back
                                                                              election (as
defined in Treas. Reg. $1.4688-l) back to the earliestpermitted date.
                                                                          Such elections
shall be made in compliance with the procedures and requirrryrents
                                                                      contained in such
regulations. It shall be the responsibility of the Escrow Age,nt to tímely
                                                                             aod properly
pr€pare and delíver the necessary docr¡urørtation for signatue
                                                                 by all necessaryparties,
and thereafter to cause the appropriate filing to occur.

       (e)       For the purpose of g46gB of the hternal Revqrue code of 19g6,
                                                                                     as
amendd and theregulationspromulgated thereunder, the adminisüator shall
                                                                                  be the
Escrow Agenl The Escrow Agent shalt timely and properly file
                                                                   all informational and



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 oth€r tax retunrs nec€ssary or advisable with respect to the Settle,rnent Fund (including
 without limitation the returns described in Treas. Reg; gl.a6SB-2(kxl). Such returns (as
 well as the election described in paragraph l7(d) strall be consistent with paragraph l7(d)
 and in all events shall reflect that all Tax6, as defined below (including any estimated

 Taxes, interest or peiralties), on the income ea¡ned by the Settlcrnøt Fund shall be paid
 out of the settlement Fr¡nd as provided in paragraph l7(f) hereof.
         (Ð      All (Ð taxes (including any estimated taxes, interest orpenalties) arising
 with respect to the income eamed by the Settlerre¡rt Fund, including any taxes or
                                                                                           ta¡r
 detrime¡rts that may be imposed upon Philips or any other Phitips Releasee
                                                                                   with respect
 ûo any income ea¡ned by the Settlement Fwd for anyperiod during
                                                                            which the Settlement
 Fr¡nd does not qualify as a qualified settleme,nt fi¡ûd for ffieral or state income
                                                                                       tax
pl¡rposqt ("Tæres'); and (ü) experu¡es and cosß incurred in connection
                                                                               with the operation
 and implenrentation ofparagraphs 17(Q tbrough 17(f) (including; without
                                                                                  limitatiorq
experu¡€c of tax attomeys and/or accor¡ntants and mailing and distibution
                                                                                  costs and
exp€ns€(t relating to filing (or failing to file) the refurns described
                                                                          in this paragraph 17(g)
('"Tax Expenses'), shall be paid out of the Settlement Frmd.
        (g)     Neither Philips nor anyother Philips Releasee nor their respective counsel
shall have any liability or rasponsibility for the Taxes
                                                           or the Tax Expenses. F¡rttrer,
Tores and Tax Expenses sh¿ll be teated as, and considered to be, a cost
                                                                          of adminishation
of the settlement Fr¡nd and shall be timely paidby the Esmow Agent out of
                                                                             the
Settle'me'lrt Fr¡nd without prior order from the Court and the Escrow
                                                                      Agent shall be
obligated (notwittrstanding an¡hing herein to the conüary) to withhold
                                                                               from distibution
to auy claimants authorized by the Court any ft¡¡rds necessary to pay such
                                                                                 amouots
including the establishment of adeguate r€s€wer¡ for any Taxes and Tax Expenses (as
                                                                                                  well
as any amounts that may be required ûo be withheld under Treas.
                                                                      Reg. g I .zt6g B-2(l)(z)).
Neith€r Philips nor any other Philips Releasee is responsible nor shall they
                                                                                  have riny
Iiability therefor. Plaintift md Philips agree to cooperate with the Escrow AgenÇ
                                                                                           each
other, and their tax attorneys and accormtants to the exte,nt reasonably necessary
                                                                                       to carry
out the provisioru ofparagraphs l7(d) th¡ough l7(Ð.




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         (h) If this Agreement does not receive final Court approval, or if the Action is
 not certified as a class action for settlerrent purposq¡, or if this Agreeinent is
                                                                                      terrrinated
 by Philips pnrsuant to this Agree,ment, including but not limited to paragraphs
                                                                                       lg, 2g, or
 29 hereof, then all a¡nounts paid by Philips into the Settlerrrent Fund (other
                                                                                  than notice
 costs expended in accordance with pæagraph l9(a)) shall be returned to philips
                                                                                         from the
 Escrow Account by the Escrow Agent atong with any interest accnred
                                                                             thereon wirhin 30
calendar days.

                 18. Exchsiorx¡ and Determination of Settlemørt Amounr Lead
Counsel will cause copres of requests for exclusion from the CIass
                                                                          to be provided to
cotmsel for Philips at least 30 days prior to seeking final approval
                                                                        of the Settleme,nt from
the Cor¡r[ The Settlernent Amormt shall be detei:nined, as reflected
                                                                           in the table below,
by the total percentage of Philips' Sales represented by Philips Cusüomers
                                                                                 that request
exclusion fiom or opt out of the Class, orinitiate se,parate action(s)
                                                                          against philips based
in whole or in part on the facts alleged in ttre Plaintiffs' Consolidated
                                                                            Amended
Complaint (collectively, the "Percentage of Philþ Sales Excluded).
                                                                             The identification
ofPhilips Customers and the percentage of Philips Sales re,presented
                                                                           by such customer(s)
shall be provided sçarately by Philips to coru¡sel for the Class
                                                                     arid shall form the basis
for determining tho Percelrtage of Philips Sales Excluded.
                                                                 Cormsel for the Class agrees
that such information shall be Feated as strictly confidential.
                                                                   Any Settle,nrent Amormts
paid by Philþs that exceed the pa1'ments due to Plaintiffs
                                                         undq this paragraph shall be
retunred within l0 business dap by wire r¿nsfer to philips.

                                            SetflementAnount
                       Percentage of Philips        Settlerreirt Anount
                          Sales Excluded              (US$ millions)
                              0%-t0%                       ï27
                            lQ.Lo/o-2Ùo/o                  $25
                            20.1o/æ3W/o                    $23
                            30.t%4u/o                      $2r
                            40,1o/o-50o/o                  $19




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                                  s0.r%-60%                      $17
                                  60.1%-70o/o                    $rs
                                  70.1o/o-80o/o                  $13
                                    >80.1%                       $r2



                     19. payment of Exoe,nses.
          (a)         Philips agrees to permit rlse of a mÐdmum of $500,000 of the Settlement
 Fund towards notice to the class and adminisfration costs. The
                                                                     $500,000 in notice and
 slaims adminisüation expflses are not recoverable if this settlerneirt
                                                                           does not become
 final. otlrer than as set forth in this paragraph l9(a), neither philips nor any
                                                                                  of the other
 Phiþs Releasees under this Agreement shall be liable for any of the costs
                                                                                or ørpenses          of
 the litigatÍon of the Actíon, incruding atüomeys' fees; fees
                                                                     and expenses of expert
 witnesses and consultants; and costs and expenses associated
                                                                        with discove,ry, motion
 practicg hearinp before the cor¡rt or any special Master,
                                                                  ap,peals, üials or the
 negotiation of other settlements, or for class adminishation
                                                                      and costs.
         (b)         If Lead Cormsel enter ínto any other settle,r¡re,nts on bdralf of the
                                                                                             Class
before notice of this Agreernent is given ûo the class, Inte,rim-Lead
                                                                             cor¡nsel shall us€ its
reasonable best efforts to provide ¿ singls notice to prospective
                                                                         Class Menrbers of all of
the settlernelrts.

        (c)          Following ffrat approval of tbis Agree,me,ntbythe court,
                                                                                   crass counsel
may u¡lg subject to prior apprroval of the courq up to
                                                             $500,000 of the settle,me,nt Fund for
e:Qeru¡es inq¡rred for prosecution of the Action on
                                                          behalf of the Class aginst non settling
defendants.

        E.       The Settlement Fuod-

                 20'       Releasors shall look soleþto the Settlqnent Fuud
                                                                                   fo¡ settlement
and satisfaction against the Philips Releasees of atl
                                                          Released claims, and shall have no
other recovery against philips or any other philips      Releasee.




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                 21. After this Agreeinent becomes ffnal within the meaning of
 Paragraph 11, the Settlement Ft¡nd shall be distributed in accordance
                                                                              with a plan to be
 submittd at the appropriate time by Plaintiffs, subject to approval
                                                                           by ttre Cor¡rt. In no
 event shall any Phiþs Releasee have any responsibility,
                                                                 financial obligation, or liability
 whatsoev€r with respec't to the invesEnørf distibutioo, or adminisfiation
                                                                                   of the
 Settle'me'lrt Fr¡n4 including but not linit€d ù0, the costs
                                                               and expenses of such distibution
 and administr¿tioru with the sole exception of the prcvisions
                                                                     set forth in paragraph l9(a)
 of this Agreernenü

                22' Plaintift and Class Couruel shalt be reimbursed and indernnified
 solely out of the Settleme,lrt Frmd for all expe,nses. The philips
                                                                       Releasees shall not be
liable for any costs, fees, or exp€ru¡es of any of plaintiffs'
                                                                 or the class' respective
attornqÆ' experts, advisors, agents, or representatives,
                                                            but all such cosb, fees, and
expeu¡€x¡ as approved by the Cor¡rt shall be paid out of
                                                            the Settle,ment Fund.
                23.
         (a)     Class Corusel may subrmit an application or applicatÍons
                                                                                 to the Court (the
*Fee
       and Expense Application ) for disEibution üo them from
                                                                      the seülement Fr¡nd and
Philips shall not oppose such ap'plicæion fon (i) an award
                                                                  of attomeys, fees not in excess
of one-third of the settleme,nt fund; plus (ü) reimburse,
                                                            ent of expe,nses and costs
incr¡ned in connection with prosecuting the Action, plus
                                                               interast on such attomeys, fees,
costs a¡ld gxlrenses al the su¡e rate and for the sarne period
                                                                   as eamed by the Settlement
Fund (until paid) as may be awarded by the Cor¡rt (the
                                                           'Tee and Expense Award,). Class
Counsel reserve the right to make additional applications
                                                               for fees and expeirses incurred"
but in no event shall Philips Releasees be reeponsible to pay
                                                                    any such additional fees and
expenses except to the extent they are paid out of the
                                                         settlement Fund.




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         (b)    The Fee and Expense Award, as approved by the cou¡q shall be paid
 solely from the Settlement Fund" Afrer this Agreement becomes final within the meaning
of Paragraph I l, the Fee and Expemse Award shall be paid to krterim-Lead Cor¡¡uel
within ten (10) business days. hrterim-Lead Cor¡nsel shall allocate the attorneys' fees
 among Class Counsel in a manner which it in good faith believe reflects the contibutions

of zuch counsel to the prosecution and settle,lnent of the Action

         (c)    The procedure for and the allowance or disallourance by the Court of the

application by Class Counsel for attorneys' fees, costs and experu¡6 to be paid out of the
Settl€tri€f,ú Furd are not part of this Agree,ment, and are to be considered by the Cor¡rt

separately from the Cor¡rt's consideration of the fainess, reasonableness and adequary of

the SettlemeirÇ aud any oider or proceeding relating to the Fee and Expense Applicatioq

or any appeal from any such ord€r shall not operate to terminate or cancel this
Agreeine'lrt or affect or delay tbe finality of the jtrdgment approving the seüle,ment.

         (d)    Neither Philips nor any other Philips Releasee r¡nder this Agre€,m€Nrt shatl
have any respotrsibility for, or interest r+ or liability whatsower with respect to any
palment to class counsel of any Fee and Expenso Award in the Action
         (e)   Neither Phiþs nor any other Philips Releasee rürd€r this Agreement shall
have any responsibility foa or ínte,rest in, or liability whatsoever with respect to the

allocation among Class Cousel, and/or any other person who may assert some claim
thereto, of anyFee and Expeirse Awa¡d that the court may make in the Action

         F.    Cooperation

               24. Philips shall cooperate with Lead Counsel as set forth specifically
below.

                       (a) Philips' counsel of record will make theuuelves available in the

                       united states forup to a total of two (2) meetings (each meeting
                       may last one or more days) with Lead Cormsel to provide a
                       complete description of facts knowa to philips that are relevant to

                       theActionincluding without limitatioq proffers of all witnesses



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                 who testified or prcvided infonnation to the united states
                 Department of Justice Antitn¡st Division in connection with its

                 antitn¡st investigation into tlre CRT industry, documørts,

                 witnesses, meetings, communications, and events not covered by
                 privilege or other p'rotections available unds any applicable
                                                                                         united
                 states law, plus reasonable follow-up conversations including
                                                                                              but
                 not limited to, identiSing individuals such as cr¡rre¡rt or former
                 e'mployees, who may provide information or poùmtial
                                                                        testimony
                relwant to the Action. philips shall ide,ntifr and produce        relevatrt
                doc'me'nts, to the extent reasonably availablg sufficient
                                                                               to show
                sales, pricing capacity, production, and daurages,
                                                                        and to evidence
                any collusive meetings among cRT makers. phirips
                                                                           shafl provide
                all preeristingüanslations in English of foreign language
                docr¡menb in the possession of philips that are to be
                                                                          or have bee,n
                produced p'rsuant to this Agreernent. philips
                                                                 shall provide any and
                all futr¡re Engtish franslations of phiþs produced docune¡rts
                                                                                         as
                they are hanslated by phitips in the regrrlar cou$¡e
                                                                        of this ritigation
                (b) Notwithstanding any otherprovision in this Agreement,
                Plaintiffs agree that they and crass counsel shall maintain
                                                                                  all
                statements made by philips' co'nsel as süictry
                                                                    confidentiar; and
                that they shall not use directry or indirectry the information
                                                                                    so
               received for anypurpose other ttran the prosecution of the
                                                                                  Action.
               The parties and their cor¡¡uel fi¡rther agree that any
                                                                        state,m€nts
               made by Philips' counser in connection with and/or
                                                                        as part of this
               settleme,nt strall be protected by Federal Rule of
                                                                    Evide¡rce 40g, and
               shall in no event be discoverable by any person or teated
                                                                               as
               evidencc of anykind, r¡nless othervrrise ordered by
                                                                       a Court.

               (o) upon reasonabre notice afrer the date of exeq¡tion of this
               Agreement Philips agreqr to use all reasonable efforts
                                                                           to make



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                 available for interviews, depositions, and testimony at hearings or

                 hial, via videoconference or at a mutually agreed upon location or
                 locations (except for testimony at hearings or tial, which shall be
                 at the united states courthouse of the united states Distict
                                                                                     cor¡rt
                 for the Nortlrein DisEict of califomia), aod at philips, experu¡e up
                 to seven (7) persons, whích may consist of surre'rt and/or former
                dfuectors, officers, and/or elnployees of philips whom Lead

                counsel, in consultation with cor¡nsel for philips, reasonably and in
                good faith believe üo have knowledge regarding plaintiffs,
                                                                                   staimg
                as alleged in the Plaintiffg' consoridated Amended complaint
                                                                                        An
                'rnt€ryieq/'for purposes of this paragraph shall last no longer than
                eight hours, includingreasonable breatß arrd, subject to reasonable
                limitations, may ocsr¡r on more tha¡r a singls day and not more than
                two days. Depositions shall be ad'inistered according to tho
                                                                                     rules
                and limitations of the Fed€ral Rules of civil procedure,
                                                                             regardless
                of the location at which they talce place or the citizenship of the
                deponenL Philips agre€x¡ to bear reasonable tavel expeirses
                in$rred by witresses pursuant to this paragraph.

                (d) Philips agrees to provide one ormore witnesses to
                establisb, to the best of their ability, philips, sales, pricing

                productio4 øpaøty and cost of its CRT hoducts. kr addítioq
                Philips agr'q¡ to provide one or more witnesses to establish
                                                                                   to the
               best of their ability, the foundation of any philips document
                                                                                   or data
               Isd cor¡nsel idørtify    ¿u¡ necessary   for sumnraryjudgment and/or
               rial.
               (e) If any docunrent protected by the attorney-crie,nt privilege,
               attonreywork-product protection, joint defense or any other
               protection" privilege, or ímmunity is accidenrtally or inadvertently
               produced under this Paragrap\ the docum€,trt shall p6s6p¡r
                                                                                   6"


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                         retumed to Philips, and its production shall in no waybe consün¡ed

                         to have waived alryprivilege or protection attach€d to zuch
                         document.

                         (Ð      Plaintiffi and Lead Counsel agree tfiey will not use the
                         information provided byphilips or the philips Releasees or their
                         representatives md€r tbis Paragraph for any purpose other than the

                         pursuit of the Astion an{ will not publicize the information
                         beyond what is reasonably necessary for the prosecution ofthe
                         action or as otherwise rquired by law. Anydocume,nts and other
                         information provided will be dee,med "Highly confide¡rtial" and
                         zubject to the protectíve order entered in the Astion as if they had
                         been produced in resporuo to discovery requests and so designated.

                 25- In the went that this Agreerrrent fails to receive finar app,roval by
 the Cor¡rt as conteinplated in Paragraphs 8-l I hereot, or in the went that it is
                                                                                terminated
by either party under any provision herein, the parties agree that neither plaintiffi
                                                                                          nor
Plaintifß' counsel shall be permitted to inüoduce into evidence, at any hearing or in
zupport of any motior¡ opposition or other pleading in this action or in any
                                                                                 othen federal
or state action alleging a violation of any a¡rtiEust or unfaír competition law
                                                                                  relating to
the subject matter of this Action, the unsworn oral or written stat€m€nts provided
                                                                                          by the
Philips Releaseeg their counsel, or anyindividual made availablebythe philips
Releasees pursuant to thc cooperation provisions ofpragraph 24.

                26. Except as p,rovided in paragraph 24 of this Agreemen! philips
need not respond to fomral discovery from plaintift, respond to the complaint,
                                                                                     or
othern'ise participate in the Astion during the pendency of the Agree,menL Neither philips
nor Plaintiffs shall file motions ageinst the other during the pe,nde,ncy of the Agreerne,nt.
In the eve,lrt that the Agreeme,lrt is not approved by the Courf or otherwise
                                                                                terminatas,
Philips and Plaintiffs will each be bormd by and have the beneût of any rulings
                                                                                     made in
the Action üo tha exte¡rt they would have been applicable to philips or plaintiffs
                                                                                     had
Philips been pæticipating in the Action



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                 27. Philips agrees that it will not disclose prùlicly or to any other
 defendant the terms of this Agreune,nt rurtil this Agree,ment is submitted
                                                                                 to the Court for
 approval. Philips also agrees that it will not disclose publicþ or to any
                                                                               other defendant
 the inforrration provided to Plaintift pt¡rsuant to this Agreemen!
                                                                          exce,pt as othen¡¡ise
 required by law.

        G.
 Entered.
                 28. If the Cor¡rt refixes to approve this Agreeineirt or anypart hereof,
 or if such approval is modified or set aside on appeal; or if the Cor¡¡t
                                                                            does not enter the
 final judgmerit provided for iu paragraph l0 ofthis   Ag¡eemenf or ifthe Court enters the
 final judg¡ne,nt and appellate rwiew is sougþÇ   and on such revieur, such firal judg¡nent is
 not affinned in its entirety, then Philips and the Ptaintifr shall
                                                                      each, in their sole
 disøetion' have the option to rescind this Agree,rnent in its entirety.
                                                                            writtsr notice of the
 exercise of any such right to rcscind shall be made according
                                                                   to the terms ofparagraph
 39' A modification orreversal on appeal of any amor¡nt of Class Cotnsel,s
                                                                                    fees and
 exp€nses awa¡ded by the court from the settle,ment Fund
                                                            shall not be demed a
modification of all or a part of the terms of this Agree,ment or such
                                                                      final judgment
              29.A. In the event that this Agreement does not become final, the,n             this
Agreernelrt sb¿ll be of no force or effect and any and all parts
                                                                   of the Settl€m€nt Fbnd
cat¡sed to be de'posited in the Esctow Accormt (including
                                                              interest eanred thereon) shall be
returned forthwith to Philips less only disbr¡rseme¡rts madc
                                                               in accordance wit¡ paragraph
l9 of this Agree'meirt Philips expresslyresen¡es all of its rights and defenses
                                                                                    if this
Agreerrent does not become final.

                29.8. Fbrther' and in anyev€lrt, Plaintift and Philips agree that this
Agreeine'nt whsth€r or not it shall become final, and any
                                                            and all negotiations, documents,
and discussions associatd with it, shall not be deerned
                                                          or constued to be an admission or
evidence of any violation of any statute or law or of any liabilíty
                                                                      or wrongdoing
whatsoever by Philips (or the Philips Releasees), or of the
                                                              tnrrû of any of the claims or
allegations contained in the complaint or any other pleading
                                                                filed by plaintiffs in the




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 Actio¡' and evidence thereof shall not be discoverable or used directly or indirectly,
                                                                                                  in
 any way, whether in the Action or in any other astion or proceeding.

                 30. This Agreernent shall be constued and interpreted to effectu¿te the
 inte'nt of the parties, which is to providg through this Agree*eirg for
                                                                                a complete
 resolution of the relevant claims with respect to each Philips Releasee
                                                                                 as provided in this
 Agree,mørl

                 31. The parties to this Agreement conte,nplafe and agree tha! prior to
 final approval of the settle,ment as provided for in Paragraphs 8-l l hereof,
                                                                                     appropriate
 notice l) of the settle,meirS and 2) of a hearing at whic,h the Cor¡rt
                                                                            will consider the
 approval ofthis settlement Agreement will be given toclass Mernbers.

                 H. Mscellaneow.
                 32. This Agreunent does not settle or comp,romise any claim by
 Plaintiffs or any class Memb€r asserted in the Consolidated Anenrded
                                                                                Complaint or,     if
 amended any subseçrelrt Complainf against any defendant or
                                                                         alleged oo-conspirator
 other tha¡ the Philips Releasees. AIl rights against such other
                                                                     defendants or alleged co-
 conspirators are specifically reserved by Plaintiffs and the
                                                                Class. philips' sales to the
Class shall not be re¡noved ftrom the Action

                33'     This Agreeineirt shall not affecf whatwer rights Releasors
                                                                                           or any of
the'm mayhave (i) to seek damages or otherrelief in a judicial
                                                                     fonrm outside the United
States of America, under the laws of cor¡nEies sth€r rhan
                                                               the United States, from any
P€'Ír¡on with respect to any CRT Products purchased directly from the manufacturer (or

any subsidiary or a.ffiliate ttrereof) outside the United States; (ii)
                                                                         to particþate in or
benefit from any relief or othø recovery ¿¡r¡ part of a settlement
                                                                     or judgmørt in any action
on behalf of any indirect purchasers of CRT Products so long
                                                                   as such benefit relief or
recovery is not duplicative in whole or part of any Released Claim; (iii)
                                                                                to participate in
or be¡refit from any relief or recovery as part of a judgment
                                                                or settlerne,nt in this action
against any other party named as a defendant (ottrer than
                                                              a Philips Releasee); or (iv) to
assert anyproduct liabilityorbreach of contact claims in
                                                               the ordinary course of br¡siness
which a¡e not covered by ttre Released Claims.




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                34. The United States Distict Corut for the Northem Disüict of
califomia shall retain jurisdistion over the imple,rnentation, enforceinen! and
perfomrance of this AgreernenÇ and shall have exch¡sive jrrisdíc'tion over any suiÇ

action, proceeding or dispute a¡ising out of or relating to this Agreement or the

aprplicability of this Agreeine,nt that cannot be resolved by negotiation and agreerrent by
Plaintiffs ætd Philips. This Agreeme,nt shall be governed by and int€rprsted according to
the substantive laws of the state of Califomia without regard to its choice of law or

conflict of laws principles.
                35. This Agreeme'trt constitutes the entiro, complete and integrated
agreement among Plaintitrs and Philips pertaining to the settl€ment of the Action against

Philíps, and supersedes all pior and contemporaneous of plaintift a¡d
Philipsincormestionherewitb" ThisAgree,rnentmaynotbemodifiedoremendedexcept
in writing orecuted by Plaintiffs and Philips, and approved by the Cor¡rt.
                36. This Agreement shall be binding upor¡ and inure to the beirefit of,
the successors and assigns of Plaintiffs and Philips. \üithout limiting the generality of the

foregoing each and wery covenant and agree,ment made herein by Plaintiffs, Int€rim-
Lead Counsel or Class Cor¡nsel shall be binding upon all Class Menrbers and Releasors.

The Philips Releasees (other ¡t4 philips, which is a par-ty hereto) are third party

beneficiaries of this Agreemelrt and are authorized to eirforce its t€rms applicable to thein.
                37. This Agreement maybe o(ecuted in counterprts byPlaintiffs and
Philips, and a facsimile signature shall be deemed an original signatue forpurposes of
executing this Agreement
                38. Neither Plaintiffs nor Philips shall be considered to be the d¡after
of this Agreenre,lrt or any of its provisions for the purpose of any statute, case law, or nrle
of interpretation or constn¡ction that would or might caus¡e any provision to be consür¡ed
against the drafter of this Agreeinent.

                39. Where this Agree,lnent requires either party to provide notice or
any othen commrmication or dosument to the other, such notic€ shall be in writing and

such notice, communicatiorq or document shall be provided by facsimile or letter by




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ov€rnight delivery to the undersigned counsel of record for the party
                                                                        ûo whom notice is
being provided.

                  40. Each of the undersigned attorneys re,prese,nts that he or she is firlly
authorized to enter into the terms and conditions ot, and to orecute,
                                                                        this Agreemenf
subject to Court approval.



Dated:feUruary      I .ZO|Z

                                                 R Alexander Saveri
                                                 Saveri & Saveri,Inc.
                                                 706 Sansome Sfie€t
                                                 San Francisco, CA   g4lll
                                                 Telephone: (4tS) Zt7 -6810

                                                 Lead Counsel and Attorneys for the Class




                                                 Washingtoq D.C.20004
                                                 Telephone: Q02) 699-7 909

                                              Attomeys for Phillpr




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            EXHIBIT 3
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        UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA


       lf You Bought A Cathode Ray Tube Product,
                    A Class Action Settlement May Affect You.

Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and finished products that
       contain a Cathode Ray Tube such as Televisions and Computer Monitors

    ,4 Fec\eral Court ctuthorized this Notice. This is not a,çr¡licitationfrom a ltnvyer.

¡ A class action lawsuit that includes direct purchasers of CRT Products is currently
   pending.

r Plaintiffs claim that Defendants (listed belorv) and co-conspirators engaged in an
   unlawful conspiracy to f-rx, raise, maintain or stabilize the prices of Cathode Ray Tubes
   and certain products containing those tubes - televisions and monitors. Plaintift's allege
   that, as a result of the unlawful conspiracy, they and other direct purchasers paid more for
   CRT Products than they would have paid absent the conspiracy. Defendants deny
   Plaintiffs' claims.
o Settlements have been reached rvith (l) Chunghwa Picture Tubes, Ltd. ("CPT"), and (2)
   Koninklijke Philips Electronics N.V., Philips Electronics North America Corporation,
   Philips Electronics Industries (Taiwan), Ltd., and Philips Da Amazonia Industria
   Electronica Ltda. (collectively, "Philips"). The companies are together referred to as the
   "Settling DefendaÀts."
o Your legal rights will be affected whether you act or don't act; This Notice includes
   information on the Settlements and the continuine lawsuit. Please read the entire Notice
   carefully.
           These Rights and Options - and deadlines to exercise them -
                                   are explained in this notice
   You can object or comment on the Settlements                               see Question l0

   You may also exclude yourself from the Settlements                         .ree Question l0

   You may go to a hearing and comment on the Settlements                     .see Question l4




   The Court in charge of this case still has to decide whether to approve each of the Settlements.
   The case against the Non-Settling Defendants (identified below) continues.




                     For More lnformation: Call 1-800-000-0000 or Visit
                     www.C RTDi rectPu rchaserAntitrustSettlement.com
                                                L
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                           WHAT THIS I\OTICE COI\TAINS
Basic Information ...............                                                          . Paee 3

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       2. Who are the Defendant companies?
       3. What is this lawsuit about?
       4. Why are there Seftlements but the litigation is continuing?
       5. What is a Cathode Ray Tube Product?
       6. What is a class action?
The Settlement Class                                                                         Paee 4

       7. How do I know if ['m part of the Settlement Class?
       8. What does the Settlement provide?
       9. When can I get a payment?
       10. What are my rights in the Settlement Class?

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The Settlement Approval Hearing                            ..........:........ .              Page7

       12. When and where will the Court decide rvhether to approve the Settlement?

       13. Do I have to come to the hearing?

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The Lawyers Representing You                                                                  Page 8

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       16. How will the lawyers be paid?

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       17. How do I eet more information?




                        For More lnformation: Call 1-800-000-0000 or Visit
                        www.CRTDi rectPu rch aserAntitrustSettlement.com
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                                                BASIC INFORMATION



l.      Why did I get this notice?

You or your company may have directly purchased Cathode Ray Tubes (CRTs) or certain products
containing those tubes between March l, 1995 and November25,2007. A direct purchaser is a person or
business who bought a CRT, or a television or computer monitor containing a CRT directly from one or
more of the Defendants, co-conspirators, affiliates, or subsidiaries themselves, as opposed to an
intermediary (such as a retail store).

You have the right to know about the litigation and about your legal rights and options before the Court
decides whether to approve the Settlements.

The notice explains the litigation, the two seftlements, and your legal rights.

The Court in charge of the case is the United States District Court f,or the Northern District of California,
and the case is called In re Cuthode Ruy Tube (CRT)) Antitrust Litigtttion, MDL No. 1917. The people
who sued are called Plaintiffs and the companies they sued are called Defendants.

2.      Who are the Defendant companies?

The Defendant companies include: LG Electronics, Inc., LG Electronics U.S.A,, Inc., LG Electronics
Taiwan Taipei Co., Ltd, Koninklijke Philips Electronics N.V., Philips Electronics North America
Corporation, Philips Electionics tndustries (Taiwan), Ltd., Philips da Amazonia Industria Electronica
Ltda., LP Displays International,Ltd. flVa LG.Philips Displays, Samsung Electronics Co,, Ltd., Samsung
Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI America, Inc., Samsung SDI Mexico
S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co, Ltd., Tianjin Samsung SDI Co.
Ltd., Samsung SDI Malaysia Sdn. Bhd., Toshiba Corporation, Toshiba America, Inc., Toshiba America
Consumer Products, LLC,, Toshiba America Information Systems, Inc,, Toshiba America Electronics
Components, Inc., Panasonic Corporation flkla Matsushita Electric Industrial, Ltd., Panasonic
Corporation of Nofth America, MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company,
Ltd. (BMCC), Hitachi, Ltd., Hitachi Displays, Ltd., Hitachi Electronic Devices (USA), Inc., Hitachi
America, Ltd., Hitachi Asia, Ltd., Tatung Company of America, Inc., Chunghwa Picture Tubes Ltd.,
Chunghrva Picture Tubes (Malaysia) Sdn. Bhd., IRICO Croup Corporation, IRICO Display Devices Co.,
Ltd., IRICO Croup Electronics Co., Ltd., Thai CRT Company, Ltd., Daewoo Electronics Corporation
f/k/a Daervoo Electronics Company, Ltd., Daervoo International Corporation. Irico Group Corporation,
Irico Group Electronícs Co., Ltd., and Irico Display Devices Co., Ltd.




                          For More Information: Call 1-800-000-0000 or Visit
                          www.CRTDirectPu rc haserAntitrustSettlement.com
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    3.       lVhat is this larvsuit about?

    The lawsuit alleges that Defendants and co-conspirators conspired to raise and fix the prices of CRTs and
    the CRTs contained in certain finished products for over ten years, resulting in overcharges to direct
    purchasers of those CRTs and products. The complaint describes how the Def,endants and co-
    conspirators allegedly violated the U.S. antitrust laws by establishing a global cartel that set artificially
    high prices for, and restricted the supply of CRTs and the televisions and monitors that contained them.
    Defendants deny Plaintiffs allegations. The court has not decided who is right.

    4.       Why are there Settlements but the litigation is continuing?

    Only two of the Defendants have agreed to seftle the lawsuit - Chunghwa and Philips. The case is
continuing against the remaining Non-Settling Defendants. Additional money may become available in
    the f,uture as a result of a trial or future settlements, but there is rro guarantee that this will happen.


5.          What is a Cathode Ray Tube Product?

For the purposes of the Settlement, Cathode Ray Tube Products means Cathode Ray Tubes of any fype
(e.g' color display tubes, color picture tubes and monochrome display tubes) and finished products rvhich
contain cathode Ray Tubes, such as Televisions and computer Monitors.

6.          What is a class action?

In a class action, one or more people, called class representatives, sue on behalf of people rvho have
similar claims. All these people are a class or class members, except for those who exclude themselves
from the class.

ff the Plaintiffs obtain money or benefits as a result of a trial or future settlement. vou rvill be notified
about those settlements, if any, at that time. Irnportant information about the case *¡tt U. posted on the
rvebsite, www'CRTDirectPurchaserAntitrustSettlement.com                          as it becomes available. Please check the
rvebsite to be kept informed about any future developments.


                                                   THE SETTLEMENT CLASS


7,          How do I know if I'm part of the Settlement Class?

Alf persons and entities who, between March l, 1995 and November25,2007, directly purchased aCRT
Product in the United States from any defendant or subsidiary or affiliate thereof, or any co-conspirator.
("Settlement Class").




                               For More Information: Call 1-800-000-0000 or Visit
                               www. C RT D i rectP u rc h a s e rA n t itru s tS etfl e m e n t. c o m
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8.       What do the Settlements provitle?

The settlement rvith CPT provides for payment to the class in the arnounts of $10,000,000 in cash, plus
interest, to the Settlement Class. The settlement also provides for extensive cooperation rvith Plaintiffs
regarding the antitrust conspiracy alleged in the complaint. In addition, CPTs sales remain in the case for
the purpose of computing damages against the remaining non-settling Defendants. Finally, the settlement
provides that part of the Sl0 million settlement fund may be used to pay expenses incurred in the
litigation.

The Settlement with Philips provides for payment of $27,000,000 in cash; however, the $27 rnillion
settlement amount is subject to reduction based on the number of exclusions from the class after notice.
The detailed reduction formula is set forth in the Philips seftlement available on the class website
www.CRTDirectPurchaserAntitrustSettlement.com. The settlement also provides flor extensive
cooperation with Plaintiffs regarding the antitrust conspiracy alleged in the complaint. [n addition,
Philips' sales remain in the case for the purpose of computing damages against the remaining non-settling
Defendants. Finally, settlement provides that part of the settlement fund may be used to pay expenses
incurred in the litigation.

                         More details are in both Settlement Agreements, available at
                              www.CRTDi rectPu rchaserAntitrustSettlement.com.

9.       When can I get a payment?

No money will be distributed to any Class Member yet. The lawyers will pursue the larvsuit against the
Non-Settling Defendants to see if any fluture settlements or judgments can be obtained in the case and
then be distributed together, to reduce expenses.

Any future distribution of the Settlement Funds will be done on apro rato basis. You rvill be notified in
the future when and where to send a claim florm. DO NOT SEND ANY CLAIMS NOW.

In the future, each class rnember'sp ro ratashare of the Settlement Fund will be determined by cornputing
each valid claimant's total CRT purchases divided by the total valid CRT purchases claimed. This
percentage is multiplied to the Net Settlement Fund (total settlements minus all costs, attorneys' fees, and
expenses) to determine each claimants pro rata share of the Settlement Fund. To determine your CRT
purchases, CRT tubes (CPTs and CDTs) are calculated at full value while CRT televisions are valued at
50o/o and CRT computer monitors are valued at7syo.


In summary, all valid claimants rvill share in the settlement funds on apro rutabasis deterrníned by the
CRT value of the product you purchased -tubes I00o/o, monitors 75Yo and televisions 50%.




                              For More lnformation: Call l-800-000-0000 or Visit
                              www.CRTDirectPu rchaserAntitrustSettlement.com
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 10.     What are my rights in the Settlement Class?

 Remain in the Settlement Class: If you wish to remain a member of the Senlement Class you do not
 need to take any action at this time.


 Get out of the Settlement Class: If you wish to keep any of your rights to sue the Settling Detèndants
 about the claims in this, case you must exclude yourself from the Settlement Class. You will not get any
 money from either of the settlements if you exclude yourself from the Seftlement Class.


 To exclude yourself from the Settlernent Class, you must send a letter that includes the f'ollowing:
     ¡    Your name, address and telephone number,
     ¡    A statement saying that you want to be excluded from In re Cathode Ray Tube (CRT) ¿lntitntst
          Litigation, MDL No. 1917, Chunghwa Settlement, and/or Philips Settlement; and
     ¡    Your signature.


 You must mail your exclusion request, postmarked no later than                   ,2012, to:

                                         C RT C laims Adm inistrator

                                                    P.O. 0000
                                                  city, sT 00000

 Remain in the Settlement Class and Obiect: If you have comments about, or disagree with, any aspect
 of the Settlements, you may express your views to the Couft by writing to the address below. The written
 response needs to include your name, address, telephone number, the case name and number (ln re
 Cathode Ray Tube (CRD Antitrust Litigation, MDL No. l9l7), a brief explanation of, your reasons flor
 objection, and your signature. The response must be postmarked no later than _,                     201.2 and
 mailed to:


         COURT                INTERIM LEAD                  COUNSEL FOR               COUNSEL FOR
                                  COUNSEL                    CHUNGHWA                   PHILIPS
Honorable Charles A.        Guido Saveri                Joel S. Sanders            John M. Taladay
Legge (Ret.)                R. Alexander Saveri         Gibson Dunn &
JAMS                                                                               Baker Botts LLP
                            SAVERI& SAVERI, INC.        Crutcher LLP
Two Embarcadero,                                                                   1299 Pennsylvania Ave.,
                            706 Sansome Street          555 Mission Street,
Suite 1500                                                                         N.W.
                            San Francisco, CA 94111     Suite 3000
San Francisco, CA 94111
                                                        San Francisco, CA 94105    Washington, D,C. 20004




                            For More Information: Call l-800-000-0000 or Visit
                            www.CRTDirectPu rchaserAntitrustSettlement.com
                                                        6
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I l.    What am I giving up to stay in the Settlement Class?

Unless you exclude yourself from the Seftlement Class, you can't sue tlre Settling Del-endants, or be part
of any other lawsuit against Settling Defendants about the legal issues in this case. lt also means that all of
the decisions by the Court rvill bind you. The "Release of Claims" includes any causes of actions asserted
or that could have been asserted in the lawsuit, as described more fully in the Senlement Agreements' The
Settlement Agreements are available at www.CRTDirectPurchaserAntitrustSettlement.com'


                             THE SETTLEMENT APPROVAL HEARING

12.     When and where will the Court decide whether to approve the Settlement?

TheCourtwillholdaFairnessHearingat-on-20|2,atJAMS,TrvoEmbarcadero,Suite
1500, San Francisco, CA94l     ll. The hearing may be moved to a different date or time without additional
notice, so it is a good idea to check class website for information. At this hearing, the Court will consider
whetherthe Settlements are fäir, reasonable and adequate. If there are objections or comments, the Court
rvill consider them at that time. After the hearing, the Couft will decide whether to approve the
Settlements. We do not know how lons these decisions will take.



13.     Do I have to come to the hearing?

No. Interim Lead Counsel will answer any questions the Court may have. But, you are welcome to come
at your own expense. If you send an objection or comment, you don't have to come to Court to talk about
it. As long as you rnailed your written objection on tirne, the Couft will consider it. You may also pay
another lawyer to attend, but it's not required.



14,      May t speak at the hearing?

If you want your orvn larvyer instead of Interim Lead Counsel to speak at the Final Approval Hearing,
you rnust give the Court a paper that is called a "Notice of Appearance." The Notice of Appearance
slrould include the name and number of the lawsuit (ln re Catho¿le Ray Tube (CRD .lntitrust Litigctlion,
MDL No. l9l7), and state that you rvish to enter an appearance at the Fairness Hearing. It also must
include your name, address, telephone number, and signature. Your "Notice of Appearance" must be
postmarked no laterthan _,2012.           You cannot speak at Hearing if you previously asked to be
excluded from the Settlement.



The Notice of Appearance must be sent to the addresses listed in Question 10.


                           For More lnformation: Call 1-800-000-0000 or Visit
                           www.C RTDirectP u rc h aserAntitrustSettlement.com
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                               THE LAWYERS REPRESENTING YOU

 15.     Do I have a lawyer in the case?

Yçs. The Court has appointed the law firm of Saveri & Saveri, Inc. to represent you as ',lnterim Lead
Counsel'" You do not have to pay Interim Lead Counsel. lf you rvant to be represented by your own
lawyers, and have that lawyer appear in couft for you in this case, you may hire one at your own expense.


 16.     How rvill the lawyers be paid?

Class Counsel are not asking for attorneys' fees at this time. At a future time, lnterirn Lead Counsel rvill
ask the Court for aftorneys' fees not to exceed one-third (33.3%) of this or any future Seftlement Fund
plus reimbursement of theír costs and expenses, in accordance rvith the provisions ofr the Seftlement
Agreements. Interim Lead Counsel may also request that an amount be paid to each ofl the Class
Representative who helped the lawyers on behalf of the rvhole class.



                                 GETTING MORB INFORMATION

17.     How do I get more information?

This Notice summarizes the lawsuit and the Settlement. You can get more information about the lawsuit
and settlements at www.cRTDirectPurchaserAntitrustsetttement.com.by calling l-g00-000-0000, or
writing to CRT Claims Administrator, P.O. 0000, City, ST 00000. please do not contact JAMS or rhe
Court about this case.


Dated:              .2012                                         BY ORDER OF THE COUR'f




                         For More lnformation: Call 1,800-000-0000 or Visit
                         www.C RTDirectPu rch aserAntitrustSetfl ement.com
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          IfYouBoughtACathode*",+ffiffiCRTProduct,AC|assAction
                                               Settlement lVlay Affect You.

       CRT Products include Televisions or Computer Monitors that contain Cathotle Rav Tubes
 Settlements have been reached with trvo defendants             valuable cooperation in the prosecution ofthe case
 in a class action lawsuit involving CRTs and CRT               against the remaining Non-Settling Defendants.
 Products. CRT stands for "Cathode Rav Tube."                   Money will not be distributed to Class members at
 "Cathode Ray Tube (CRT) producrs" include                      this time. The lawyers will pursue the lawsuit against
 Cathode Ray Tubes and finished products that                   the other Defendants to see if any future settlements
 contain a Cathode Ray Tube such as Televisions and             orjudgments can be obtained in the case and then be
 Computer Monitors.                                             distributed together, to reduce expenses.
               What is this lctws¿¿it about?                                      Il/hat are my rights?

 The lawsuit alleges that Defendants and Co-                    lf you wish to remain a member of the Settlement
 Conspirators engaged in an unlawful conspiracy to              Class you do not need to take any action at this time.
  fix, raise, maintain or stabilize the prices of CRTs          Ifyou do not rvant to be legally bound by the
 and certain products contaíning those tubes                    Settlements, you must e.xclude yourself in rvriting by
                                                  -
 televisions and monitors. plaintiffs allege that, as           _,           2012, or you will not be able to sue, or
 result of the unlawful conspiracy, they and other              continue to sue, the Settling Defendants about the
 direct purchasers paid more for CRT products than              Iegal claims in this case.
 they would have absent the conspiracy. Defendants
 deny Plaintifß' claims.                                        If you wish to comment on or disagree with any
                                                                aspect of the proposed settlements, you must do so in
           IItho's included in the settlements?                 writing no later than _,2012.        The Settlement
                                                                Agreements, along rvith details on how to object to
The Settlements include all persons and entities who,
                                                                them, are available at
between March l, I995 and November 25,2007,
                                                                www.CRTDirectPurchaserAntitrustsSettlement.com.
directly purchased a CRT product in the United
                                                                The U.S. Distríct Court for the Northern District of
States from any defendant or subsidiary or affiliate
thereof. ("Settlement C lass").
                                                                Califomía will hold a Fairness Hearing at _        on
                                                                _,2012,at             JAMS, Two Embarcadero, Suite
           IVho are the Settling Defendants?                     1500, San Francisco, CA94l ll. The hearing may be
                                                                moved to a different date or time without additional
Settlements have been reached with Defendants
                                                                notice, so it is a good idea to check the class rvebsite
Chunghwa Picrure Tubes, Ltd. (,.CpT") and
                                                                fbr infbrmation.
Koninklijke Philips Elecrronics N.V., philips
Electronics North America Corporation, philips                 The Court has appointed the law firm of Saveri &
Electronics Industries (Taiwan), Ltd., and philips Da          Saveri, Inc. to represent Direct purchaser Class
Amazonia Industria Electronica Ltda. (collectively,            members as Interim Lead Class Counsel. The Court
"Philips") The companies are together referred to as           will hold a hearing on _,2012             to consider
the "Settling Defendants." A complete Iist of                  rvhether the Settlements are fair, reasonable and
Defendants is set out in the Long Form of Notice               adequate. lf there are objections or comments, the
available at                                                   Court will considçr them at that time. you may
rvww.C RTDirectPurchaserAntitrustSettlement.com.               appear at the hearing, but don't have to. We do not
           I|that do the Seulements provide?                   know how long these decisions ivill take. please do
                                                               not contact JAMS or the Court about this case.
The CPT Settlement provides for the payment of
$ 10,000,000 in cash, plus interest, ro rhe Settlement         This is a Summary Notice. For more details, call toll
Class. The Philips Senlement provides for the                  free I -800-000-0000, visit
payment of 527,000,000 in cash, subject to a                   www.CRTDirectPurchaserAntitrustSettlement.com.,
reduction based on the number of exclusions from the           or rvrite to CRT Direct Senlement, p.O. Box XXX.
class after notice. Both Settling Defendants have              XXXXX.
agreed to provide Plaintiffs with significant and
